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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

INTERNATIONAL LABOR RIGHTS FORUM
d/b/a GLOBAL LABOR JUSTICE-
INTERNATIONAL LABOR RIGHTS FORUM,
1634 I Street, NW, Suite 1000, Washington, D.C.
20006,

                            Plaintiff,                        Civil Action No. ________
                 v.

BUMBLE BEE FOODS, LLC, 280 10th Avenue,
San Diego, CA 92101,

                            Defendant.


                                     NOTICE OF REMOVAL

        Defendant Bumble Bee Foods, LLC (“Bumble Bee”) hereby removes this action from the

Superior Court of the District of Columbia to the United States District Court for the District of

Columbia pursuant to 28 U.S.C. §§ 1332(a), (d), 1367, 1441(a), (b), 1446, and 1453(b), 1 and states

as follows:

                                  TIMELINESS OF REMOVAL

        1.       Plaintiff International Labor Rights Forum d/b/a Global Labor Justice-International

Labor Rights Forum (“GLJ-ILRF”) filed this action against Bumble Bee on March 21, 2022, in

the Superior Court of the District of Columbia as Civil Action No. 2022 CA 001235B. Bumble

Bee was served with the complaint and summons on April 4, 2022.

        2.       This Notice of Removal is timely because it is filed within 30 days of service. See

28 U.S.C. § 1446(b).


1
    By filing this Notice of Removal, Bumble Bee does not waive any right, defense, affirmative
    defense, or objection, including any challenges to personal jurisdiction over Bumble Bee. See,
    e.g., Rivera v. Bally’s Park Place, Inc., 798 F. Supp. 2d 611, 615 (E.D. Pa. 2011).
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                                  NATURE OF THE ACTION

        3.       Plaintiff GLJ-ILRF, a citizen of the District of Columbia, brings suit on its own

behalf and on behalf of District of Columbia consumers, against an out-of-state defendant, seeking

injunctive relief and attorneys’ fees that, if granted, would exceed the $75,000 jurisdictional

threshold, even if divided among the allegedly injured parties. This Court has subject matter

jurisdiction over the instant action because it may exercise diversity jurisdiction, 28 U.S.C. §§

1332, 1441(b), as well as jurisdiction under the Class Action Fairness Act, 28 U.S.C. § 1332(d). 2

        4.       Plaintiff GLJ-ILRF is a nonprofit incorporated and based in the District of

Columbia. It brings this suit purportedly seeking to address “unfair and dangerous labor practices

in the commercial fishing of the seafood that ends up in Bumble Bee Products.” Compl. ¶ 7.

Plaintiff claims that Bumble Bee, which is organized in Delaware and has its principal place of

business in California, violated the District of Columbia Consumer Protection Procedures Act

(“CPPA”), D.C. Code §§ 28-3901 et seq., through “deceptive marketing representations that

purport to ensure fair labor practices and worker safety.” Compl. ¶ 9.

        5.       According to the Complaint, Bumble Bee advertises its products with phrases such

as “best-in-class culture of safety” and “fair and responsible working conditions” when, in fact,

“Bumble Bee sells tuna products caught by laborers who are subjected to inhuman conditions that

do not meet the standards Bumble Bee set for itself.” Compl. ¶ 79 (emphasis added). But the

Complaint does not allege any facts showing that Bumble Bee actually sells tuna sourced from any

such laborers, or that Bumble Bee even directly sources tuna from any such laborers.




2
    Bumble Bee reserves the right to further elaborate on these grounds for removal, and provide
    evidence in support thereof, beyond the jurisdictional allegations in this Notice. See Dart
    Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 87–89 (2014).


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         6.       Plaintiff nonetheless claims that it is misleading for Bumble Bee to call its practices

“best-in-class” without disclosing the alleged risks in its parent company’s supply chain. Id. ¶¶ 6,

19, 31, 41, 43, 63. But Plaintiff fails to disclose the subject matter of Bumble Bee’s “best-in-class”

superlative. It does not refer broadly to Bumble Bee’s supply chain, but to Bumble Bee’s promise

to “continue to champion [its] best-in-class culture of safety in Bumble Bee facilities.”3 This is a

far cry from promising best-in-class safety practices aboard the fishing vessels of third-party

suppliers. And Plaintiff does not allege any facts indicating that the statement is false or

misleading as to Bumble Bee’s own facilities.

         7.       Plaintiff seeks declaratory and injunctive relief, as well as costs and attorneys’ fees.

Compl. ¶ 17.

                                    GROUNDS FOR REMOVAL

A.       This Court Has Diversity Jurisdiction Over the Action.

         8.       This action is removable under 28 U.S.C. § 1332 and § 1441 because the action is

between citizens of different states and the amount in controversy far exceeds $75,000.

         9.       A defendant may remove “any civil action brought in State court of which the

district courts of the United States have original jurisdiction.” 28 U.S.C. § 1441(a).

         10.      Federal district courts have “original,” diversity jurisdiction over civil actions for

which (1) there is “complete diversity,” meaning that no plaintiff is a citizen of the same State as

any defendant; and (2) the amount in controversy “exceeds the sum or value of $75,000.” 28

U.S.C. § 1332(a); Lincoln Prop. Co. v. Roche, 546 U.S. 81, 89 (2005). Both criteria are satisfied

here.


3
     The Bumble Bee Seafood Company, Impact: Sustainability and Social Impact,
     https://thebumblebeecompany.com/impact/ (last visited Apr. 17, 2022) (emphasis added)
     (cited in Compl. ¶¶ 19, 21, 41).


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       11.      “[C]omplete diversity” is present because the sole Plaintiff and the sole Defendant

in this action are citizens of different states. 28 U.S.C. § 1332(a)(1); see also id. § 1332(e)

(providing that the District of Columbia is a “State” for purposes of Section 1332(a)(1)). For

purposes of diversity jurisdiction, a corporation—including a not-for-profit corporation—is a

citizen of the state in which it is incorporated, and the state in which it has its principal place of

business. Id. § 1332(c)(1); see North v. Smarsh, Inc., 160 F. Supp. 3d 63, 79 (D.D.C. 2015).

       12.     Plaintiff GLJ-ILRF is a citizen of the District of Columbia because, according to

the allegations of the Complaint, Plaintiff is “registered as a nonprofit in the District of Columbia.”

Compl. ¶ 70.

       13.     Defendant Bumble Bee is a privately-held limited liability company that is

organized under the laws of Delaware and has its primary place of business in San Diego,

California. Compl. ¶ 64.

       14.     The “in-state defendant rule” does not bar removal of this case because Bumble

Bee is not a citizen of the District of Columbia and therefore is not “a citizen of the State in which

such action is brought.” 28 U.S.C. § 1441(b)(2). The parties are therefore “completely diverse.”

       15.     The amount in controversy also far “exceeds the sum or value of $75,000.” 28

U.S.C. § 1332(a)(1). In measuring the amount in controversy for purposes of diversity jurisdiction,

a court must assume that the allegations of the complaint are true and assume that a jury will return

a verdict for the plaintiff on all claims made in the complaint, no matter how baseless they might

be. See Lovelle v. State Farm Mut. Auto Ins. Co., 235 F. Supp. 3d 217, 223–24 (D.D.C. 2017). A

defendant’s notice of removal “need include only a plausible allegation that the amount in

controversy exceeds the jurisdictional threshold.” Beyond Pesticides v. Dr. Pepper Snapple Grp.,

Inc., 322 F. Supp. 3d 119, 121 (D.D.C. 2018) (quoting Dart Cherokee, 574 U.S. at 89).



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        16.    Where, as here, a plaintiff seeks injunctive relief, the amount in controversy is

“measured by the value of the object of the litigation.” Hunt v. Wash. State Apple Advert. Comm’n,

432 U.S. 333, 347 (1977). This value can be calculated from “either viewpoint,” meaning the

“value of the right that plaintiff seeks to enforce or to protect” or “the cost to the defendant to

remedy the alleged denial.” Smith v. Washington, 593 F.2d 1097, 1099 (D.C. Cir. 1978). Thus,

“[t]he value of injunctive relief for determining the amount in controversy can be calculated as the

cost to the defendant.” GEO Specialty Chems., Inc. v. Husisian, 951 F. Supp. 2d 32, 39 (D.D.C.

2013) (quoting Wexler v. United Air Lines, Inc., 496 F. Supp. 2d 150, 153 (D.D.C. 2007)).

        17.    The question of how to apportion the cost to the defendant in cases seeking

injunctive relief on behalf of a class of consumers is an open and recurring question within the

D.C. Circuit. District courts have employed the “non-aggregation” principle in CPPA suits when

calculating the cost to the defendant of the injunctive relief. See Earth Island Inst. v. BlueTriton

Brands, --- F. Supp. 3d ----, 2022 WL 252031, at *3 (D.D.C. Jan. 27, 2022) (citing cases). The

non-aggregation principle provides that “separate and distinct claims of two or more plaintiffs

cannot be aggregated in order to satisfy the jurisdictional amount requirement.” Snyder v. Harris,

394 U.S. 332, 335 (1969). These courts have found that the cost of compliance with the injunctive

relief should be divided by the number of affected consumers who could bring suit in their own

right. See, e.g., Organic Consumers Ass’n v. Handsome Brook Farm Grp. 2, LLC, 222 F. Supp.

3d 74, 78 (D.D.C 2016); Witte v. General Nutrition Corp., 104 F. Supp. 3d 1, 6 (D.D.C. 2015).4




4
    To meet its statutory standing requirements for a suit brought under D.C. Code § 28-
    3905(k)(1)(D), Plaintiff must demonstrate that the consumers it purports to represent “could
    bring suit in their own right.” Animal Legal Defense Fund v. Hormel Foods Corp., 258 A.3d
    174, 183 (D.C. 2021). In other words, the only consumers whose interests Plaintiff could
    represent in this case necessarily would be “consumers who have suffered a cognizable injury
    under the CPPA sufficient to give each of them Article III standing.” Organic Consumers Ass’n

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The D.C. Circuit has not yet addressed the issue of “how the ‘non-aggregation’ and ‘either

viewpoint’ doctrines interact.” Handsome Brook Farm, 222 F. Supp. 3d at 79. Whether the Court

assesses Bumble Bee’s total cost of compliance or the individual cost to each affected consumer,

the amount in controversy exceeds $75,000.

       18.       In addition to the costs of compliance with injunctive relief, the amount in

controversy also includes Plaintiff’s separate request for “costs and disbursements, including

reasonable attorneys’ fees.” Compl. at 19, Prayer for Relief (c). It is well established that

attorneys’ fees “may be counted towards establishing a jurisdictional amount when they are

provided for by statute in controversy,” Parker-Williams v. Charles Tini & Assocs., Inc., 53 F.

Supp. 3d 149, 153 (D.D.C. 2014) (cleaned up), as they are in the CPPA, see D.C. Code § 28-

3905(k)(2)(B). Indeed, attorneys’ fee awards under the CPPA routinely exceed the $75,000

jurisdictional threshold on their own. See, e.g., Williams v. First Gov’t Mortg. & Inv’rs. Corp.,

225 F.3d 738, 745–47 (D.C. Cir. 2000) ($199,340); Beck v. Test Masters Educ. Servs., Inc., 73 F.

Supp. 3d 12, 20 (D.D.C. 2014) ($854,623.90); In re InPhonic, Inc., 674 F. Supp. 2d 273, 289

(D.D.C. 2009) ($453,885.31); Dist. Cablevision L.P. v. Bassin, 828 A.2d 714, 718 (D.C. 2003)

($425,916.25).

       19.       Here, Plaintiff alleges that consumers are misled by certain statements in Bumble

Bee’s annual reports, website, and social media and seeks equitable relief that would compel

Bumble Bee to modify its messages in those forums. Compl. ¶ 17 (citing D.C. Code § 28-

3905(k)(2)(D)). Plaintiff also seeks “reasonable attorneys’ fees.” Compl. at 19, Prayer for Relief




   v. General Mills, Inc., No. 2016 CA 6309 B, 2017 WL 2901210, at *5 (D.C. Super. Ct. Apr.
   27, 2017).


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(c). The total value of complying with this injunctive relief and paying attorneys’ fees would far

exceed $75,000.

        20.     Injunctive Relief. Bumble Bee’s total annual advertising budget is roughly $12

million, which includes social media. Indeed, Bumble Bee’s budget for social media alone has

approached $2 million. In addition to this annual advertising budget, Bumble Bee spends hundreds

of thousands of dollars each year on corporate communications, reports, and website content—

much of which is directed at the company’s sustainability efforts. Upon information and belief,

an injunction directing Bumble Bee to revise and/or supplement its past and potentially future

corporate reports, website content, and social media campaigns to satisfy Plaintiff’s demands could

easily reach into the millions of dollars. In light of these substantial expenditures, it is more than

plausible that Bumble’s total cost of compliance with Plaintiff’s requested relief would far exceed

$75,000.5 See Dart Cherokee, 574 U.S. at 89.

        21.     Attorneys’ Fees. As of 2017, Plaintiff’s lead counsel, Kim Richman, has sought

statutory attorneys’ fees at $700.00 per hour.6 At that rate, the amount in controversy will exceed

$75,000 so long as Mr. Richman alone bills just 110 hours to this litigation.7 Given the nature of




5
    Bumble Bee does not concede—and in fact denies—that Plaintiff is entitled to any of the relief
    it seeks. A plaintiff’s claim “fixes the right of the defendant to remove” whether “well or ill-
    founded in fact.” St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 294 (1938); see
    also 14B Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure
    § 3702.1 (4th ed. 2020) (“[A] defendant who seeks to prove that the amount in controversy is
    greater than the jurisdictional amount does not automatically concede that the jurisdictional
    amount is recoverable.”).
6
    See Decl. of Kim Richman in Supp. of Pls.’ Mot. for Attorneys’ Fees, Costs, & Incentive
    Awards ¶ 20, Charvat v. Plymouth Rock Energy, LLC, Civ. No. 15-4106 (E.D.N.Y. Oct. 5,
    2017) (hereinafter, “Richman Decl.”)
7
    As of 2017, Mr. Richman’s of counsel and associate each bill at $450.00 per hour. See Richman
    Decl. ¶ 20.


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Plaintiff’s action, it is not only plausible, but highly probable that the attorneys’ fees here will on

their own exceed $75,000.

        22.       Bumble Bee submits that the non-aggregation principle should not be applied here

to reduce the cost of compliance with an injunction or attorneys’ fees. The non-aggregation

principle is subject to an important exception. It does not apply where “two or more plaintiffs

unite to enforce a single title or right in which they have a common and undivided interest.”

Snyder, 394 U.S. at 335. “[A] common and undivided claim exists when the adversary of the class

has no interest in how the claim is to be distributed among the class members.” Nat’l Welfare

Rights Org. v. Weinberger, 377 F. Supp. 861, 866 (D.D.C. 1974); Aetna U.S. Healthcare, Inc. v.

Hoechst Aktiengesellschaft, 48 F. Supp. 2d 37, 41 (D.D.C. 1999). Plaintiff’s claims meet this

standard here because the cost of complying with Plaintiff’s requested injunctive relief and paying

attorneys’ fees will “not be affected by the number of plaintiffs, nor by the values of their

individual claims.” Williams v. Purdue Pharma Co., Civ. No. 02-0556, 2003 WL 24259557, at

*5 (D.D.C. Feb. 27, 2003). Unlike damages, the relief Plaintiff seeks—modification of Bumble

Bee’s advertising and attorneys’ fees—cannot be distributed on a pro rata basis among a class of

District of Columbia consumers. See In re Cardizem CD Antitrust Litig., 90 F. Supp. 2d 819, 835

(E.D. Mich. 1999) (“[W]here the plaintiff and the class members have a common and undivided

interest in the injunctive relief, it is appropriate to aggregate the total cost of the requested

injunctive relief from the defendant’s viewpoint”); Zuckman v. Monster Beverage Corp., 958 F.

Supp. 2d 293, 301 (D.D.C. 2013) (noting that apportioning attorneys’ fees between plaintiff “and

the general public on a pro rata basis” would “underestimate the portion of fees properly attributed

to” plaintiff).




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        23.     Even if the non-aggregation principle were to apply, the cost of compliance with

the injunctive relief and attorneys’ fees divided by the number of affected consumers in this case

would still exceed $75,000. Here, the number of consumers who actually viewed the statements

at issue, and thus potentially could have brought suit in their own right, is miniscule. For example,

upon information and belief, the webpage hosting the 2020 Seafood Future Report received fewer

than a dozen visits from IP addresses traceable to the District of Columbia from June 8, 2020 to

June 8, 2021. See Compl. ¶ 20, 22–24, 49, 62. It is likely that even fewer bothered to open the

report and read it. Similarly, upon information and belief, Bumble Bee’s Instagram account had

only 19 followers from the District of Columbia on the day Bumble Bee posted about “World

Ocean’s Day.” Id. ¶ 26. And again it is likely that even a smaller number actually viewed the

“World Ocean’s Day” post cited in the Complaint. Upon information and belief, only about 15

percent of Bumble Bee’s total followers (from any location) viewed the “World Ocean’s Day”

post on June 8, 2020, which suggests that the post was viewed by only a handful of individuals in

the District of Columbia, at most. Based on these estimates, it is likely that the actual number of

D.C. consumers even potentially affected by the statements cited in the Complaint is quite small. 8

        24.     Dividing the substantial cost of compliance and attorneys’ fees—which, as set forth

above, could run into the millions of dollars—by the small number of affected consumers here

would still result in an amount in controversy well over the $75,000 threshold.             Compare

Breakman v. AOL LLC, 545 F. Supp. 2d 96, 100, 106 (D.D.C. 2008) (dividing AOL’s cost of

compliance of $255,800 by the 28,451 affected consumers, and holding that “the cost running to


8
    A total of 479 non-followers also viewed the “World Ocean’s Day” post, though Bumble Bee
    is not presently able to break down that figure by location. Given that only 0.3 percent of
    Bumble Bee’s total followers are from the District of Columbia, it is reasonable to infer that the
    same proportion of non-followers are located in the District. That would suggest that only 2
    non-followers in the District of Columbia viewed the post in question.


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each District of Columbia consumer is $8.99, an amount far below the jurisdictional requirement”);

Hackman v. One Brands, LLC, No. 18-2101 (CKK), 2019 WL 1440202, at *6 (D.D.C. Apr. 1,

2019) (dividing the defendant’s costs of compliance by the 100 affected consumers for an

apportioned cost of either $10,825 for rebranding or $1,300 for reformulation, “both of which fall

below the jurisdictional requirement of $75,000”).

       25.     In sum, because the parties are “completely diverse,” and the amount in controversy

plausibly exceeds $75,000, this Court has subject matter jurisdiction under 28 U.S.C.

§ 1332(a).

B.     This Court Also Has Jurisdiction Under the Class Action Fairness Act.

       26.     In the alternative, this Court has subject-matter jurisdiction under the Class Action

Fairness Act (“CAFA”), 28 U.S.C. § 1332(d), because Plaintiff seeks to represent a class of District

of Columbia consumers and CAFA’s statutory requirements are satisfied.

       27.     CAFA permits removal of (1) any “class action;” (2) where minimal diversity

exists; (3) at least 100 class members are represented; and (4) “the matter in controversy exceeds

the sum or value of $5,000,000, exclusive of interests and costs.” 28 U.S.C. § 1332(d)(1), (2), (5);

Bradford v. George Washington Univ., 249 F. Supp. 3d 325, 332 (D.D.C. 2017); see also 28 U.S.C.

§ 1453(b). Each criterion is satisfied here.

       28.     CAFA defines a “class action” as “any civil action filed under rule 23 of the Federal

Rules of Civil Procedure or similar State statute or rule of judicial procedure authorizing an action

to be brought by 1 or more representative persons as a class action.” 28 U.S.C. § 1332(d)(1)(B).

CAFA’s legislative history provides that “the definition of ‘class action’ is to be interpreted

liberally. Its application should not be confined solely to lawsuits that are labelled ‘class actions.’

Generally speaking, lawsuits that resemble a purported class action should be considered class

actions for the purpose of applying these provisions.” S. Rep. No. 109-14, at 35 (2005), as

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reprinted in 2005 U.S.C.C.A.N. 3, 34 (formatting altered); see also McMullen v. Synchrony Bank,

82 F. Supp. 3d 133, 140 (D.D.C. 2015). In other words, CAFA permits removal of a suit that is

“in substance a class action” notwithstanding a plaintiff’s “attempt to disguise the true nature of

the suit.” Addison Automatics, Inc. v. Hartford Cas. Ins. Co., 731 F.3d 740, 742 (7th Cir. 2013);

see, e.g., Williams v. Empl’rs Mut. Cas. Co., 845 F.3d 891, 901–02 (8th Cir. 2017); Song v. Charter

Commc’ns, Inc., Civ. No. 17-325, 2017 WL 1149286, at *1 n.1 (S.D. Cal. Mar. 28, 2017).

       29.     This action is a putative “class action” under CAFA. Plaintiff purports to bring this

action “on behalf of the interests of a consumer or a class of consumers, . . . seeking relief from

the use by any person of a trade practice in violation of a law of the District if the consumer or

class could bring an action . . . for relief from such use by such person of such trade practice.”

Compl. ¶ 14 (emphasis added); see also id. ¶ 16 (noting that this is an action brought on behalf of

“District consumers who purchase seafood and may be targeted by Bumble Bee’s marketing

claims.”). Plaintiff further represents that it “has a sufficient nexus to District consumers to

adequately represent their interests.” Id. ¶ 15.

       30.     By filing a suit under D.C. Code § 28-3905(k)(1)(D)(i) and styling its action as a

representative suit brought on behalf of a class of consumers, Plaintiff has chosen to bring what is

in substance a putative class action: a “representative suit on behalf of a group of persons similarly

situated.”     1 Alba Conte & Herbert B.                Newberg,    Newberg on Class Actions

§ 1.1 (4th ed. 2002) (cleaned up). While Plaintiff makes the self-serving assertion that “[n]o class

certification will be requested,” Compl. ¶ 16, actions like this one “that resemble a purported class

action should be considered [a] class action for the purpose of applying [CAFA’s] provisions,”

Song, 2017 WL 1149286, at *1 n.1 (emphasis added). Indeed, the D.C. Court of Appeals has

explained that such suits under the CPPA are necessarily subject to the “framework long



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established by” D.C. Superior Court Rule of Civil Procedure 23, Rotunda v. Marriot Int’l, Inc.,

123 A.3d 980, 982 (D.C. 2015), which is in all relevant respects “identical” to Federal Rule of

Civil Procedure 23, see D.C. Super. Ct. R. Civ. P. 23 cmt.9

         31.     Minimal diversity is also more than satisfied here because complete diversity is in

fact present. Minimal diversity demands only that “any member of a class of plaintiffs” be “a

citizen of a State different from any defendant.” 28 U.S.C. § 1332(d)(2)(A). The putative class

of the District of Columbia consumers includes citizens of the District of Columbia. Compl.

¶¶ 151–52. By contrast, Bumble Bee is a citizen of Delaware where it is incorporated, and a citizen

of California where it is headquartered. Id. ¶ 64.

         32.     As discussed above, Bumble Bee respectfully submits that the number of

potentially affected consumers is quite small. Should the Court determine otherwise, Bumble Bee

argues, in the alternative, that the consumers on whose behalf Plaintiff sues exceeds 100 purported

class members. See 28 U.S.C. § 1332(d)(5)(B); Compl. ¶ 65 (“Bumble Bee’s Products are

available in a wide variety of national supermarket chains, regional stores, and other retail outlets,

including stores in the District”); id. ¶ 73 (“Bumble Bee’s Products can be, and are, purchased in

the District by District consumers”). 10



9
     Courts in this district have held that Rotunda applies only to CPPA cases seeking monetary
     damages, not injunctive relief. See, e.g., Animal Legal Defense Fund v. Hormel Foods Corp.,
     249 F. Supp. 3d 53, 65 (D.D.C. 2017). But Rotunda did not provide the D.C. Court of Appeals
     “with an opportunity to consider the 2012 amendments to the CPPA,” which specifically added
     language to section 28-3905(k)(1)(D) “permitting public interest organizations to sue on behalf
     of a ‘class’ of consumers.” General Mills, 2017 WL 2901210, at *4 (emphasis added). The
     effect of the 2012 amendments on the class certification requirement in Rotunda thus remains
     an open question.
10
     See also Quick Facts: District of Columbia, U.S. Census Bureau (July 1, 2021),
     https://www.census.gov/quickfacts/DC (estimating the District of Columbia population at
     670,050).


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       33.     Finally, given the cost to Bumble Bee of complying with Plaintiff’s requested relief

as described above, in addition to attorneys’ fees, the amount in controversy exceeds the

$5,000,000 threshold. See 28 U.S.C. § 1332(d)(2).

       COMPLIANCE WITH PROCEDURAL REQUIREMENTS FOR REMOVAL

       34.     Based on the foregoing, this Court has original jurisdiction over this action under

28 U.S.C. §§ 1332, 1441(b) (diversity jurisdiction), and 28 U.S.C. §§ 1332(d), 1453(b) (CAFA).

       35.     The United States District Court for the District of Columbia is the appropriate

venue for removal under 28 U.S.C. §1441(a) because the Superior Court of the District of

Columbia, where this suit was originally filed, is within the District of Columbia.

       36.     In accordance with 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders

served upon Bumble Bee is attached as Exhibits A–E.

       37.     Pursuant to 28 U.S.C. § 1446(d), Bumble Bee will promptly provide written notice

of this filing to all adverse parties, and file a copy of this Notice of Removal with the clerk of the

Superior Court of the District of Columbia. A copy of this filing (without exhibits) is attached as

Exhibit F.

       38.     This Notice of Removal is signed pursuant to Fed. R. Civ. P. 11, as required by 28

U.S.C. § 1446(a).

       39.     Bumble Bee reserves the right to amend or supplement this Notice of Removal.

Bumble Bee also reserves all rights, defenses, and objections available under applicable law. The

filing of this Notice of Removal is subject to, and without waiver of, any such defenses or

objections.




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       WHEREFORE, Bumble Bee respectfully gives notice that this action is hereby removed

from the Superior Court of the District of Columbia to the United States District Court for the

District of Columbia.




DATED: May 2, 2022

                                                   Respectfully submitted,

                                                   By: /s/ Justin Anderson
                                                   Justin Anderson (D.C. Bar No. 1030572)
                                                   Jake E. Struebing (D.C. Bar No. 1673297)
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                                                   Attorneys for Defendant Bumble Bee Foods,
                                                   LLC




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          EXHIBIT A
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                                                                                     D.C. Superior Court
                                                                                     03/21/2022 15:21PM
                                                                                     Clerk of the Court

                     SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                   CIVIL DIVISION



                                                            )
INTERNATIONAL LABOR RIGHTS FORUM                            )
d/b/a GLOBAL LABOR JUSTICE-INTERNATIONAL                    )
LABOR RIGHTS FORUM,                                         )
a non-profit corporation,                                   )
1634 I Street NW, Suite 1000                                )
Washington, D.C. 20006                                      )
                                                            )
                                     Plaintiff,             )
                                                            )
                v.                                          )
                                                            )
BUMBLE BEE FOODS, EEC                                       )
280 10th Avenue,                                            )
San Diego, CA 92101                                         )
                                     Defendant.             )




                                         COMPLAINT

       On behalf of itself and the general public, and in the interest of consumers, Plaintiff

International Labor Rights Forum d/b/a Global Labor Justice-International Labor Rights Forum

(“GLJ-ILRF”) brings this action against Defendant Bumble Bee Foods, LLC (“Bumble Bee”)

concerning its false and deceptive marketing representations that its industrial tuna products are

produced through a “fair and safe supply chain,” despite significant evidence of forced labor and

worker safety violations. GLJ-ILRF alleges the following based upon personal knowledge,

information, and belief.

                                       INTRODUCTION

       1.       The use of fair labor practices and the promotion of worker safety is of growing

concern to consumers.




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        2.        This is a consumer-protection case concerning deceptive marketing representations

about Bumble Bee’s tuna products (the “Products”).1 This case is brought by GLJ-ILRF, a non­

profit, public-interest organization dedicated to fair labor practices, workers’ rights, and consumer

education. GLJ-ILRF seeks no monetary damages, only an end to the deceptive marketing and

advertising at issue.

         3.       Defendant Bumble Bee is one of the largest producers of canned tuna in the United

States, which it markets under its name and various other brand names.

        4.        In June 2020, Bumble Bee was acquired by FCF Co. Ltd. (“FCF”), a Taiwan-based

seafood producer. Even before Bumble Bee was formally acquired by FCF, the company acquired

between 70% and 95% of the tuna used in its major Products through FCF.2

         5.       Most of the tuna produced through FCF’s supply chain comes from fishing methods

and regions recognized by U.S. government agencies as high risk for forced labor and other

abuses.3 Bumble Bee has thus long relied on FCF’s supply chain and profited from the well-

documented and endemic labor abuses therein.4

         6.       Nevertheless, Bumble Bee makes marketing and advertising representations that

convey to consumers, including consumers in the District of Columbia, that Bumble Bee is “best-

in-class” in terms of its worker safety standards and that it is the company’s “mission” to

“champion sustainable fishing” throughout the Products supply chain.




     1 Discovery may reveal that additional Bumble Bee brands and products should be included within the scope of
the allegations in this Complaint, and Plaintiff reserves the right to add such products.
     2 Declaration of Kent McNeil in Support of Chapter 11 Petitions and First-Day Motions at 50, In re Bumble Bee
Parent, Inc., No. 19-12502, 2020 Bankr. LEXIS 3369 (Bankr. D. Del. Dec. 1, 2020).
     3 2020 List of Goods Produced by Child Labor or Forced Labor, U.S. Department of Labor (Sept. 2020),
https://www.dol.gov/sites/dolgov/files/ILAB/child_labor_reports/tda2019/2020_TVPRA_List_Online_Final.pdf.
     4    Seafood       Stewardship     Index:      FCF       Co.,      Ltd.,    World    Benchmarking    Alliance,
https://www.worldbenchmarkingalliance.org/publication/seafood-stewardship-index/companies/fcf-co/ (last visited
Mar. 21, 2022).


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        WORKS^ SAFETY
        W<? wifi continue to champion ou? besi'in-ciaos cohure of safety in Bumbio Bee
        facilities to ensure adherence to established and thorough safety protocols.
                                                                                                      5



                             Our purpose Is fa feed people’s lives
                             through the power of the ocean. It is
                             per pdsslop to champion susfolnoble
                             fishing end advocate for fishers, sotting
                             tomorrow's standards through the
                             notions we take todap                              6


        7.       In reality, far from being “advocate[s]” for fishers, Bumble Bee and its supplier and

parent company FCF have a long history of engaging in and/or allowing unfair and dangerous

labor practices in the commercial fishing of the seafood that ends up in Bumble Bee Products.

Bumble Bee’s supply chain not only falls short of international laws and standards regarding fair

labor practices, but also employs fishing methods that are inherently dangerous for workers. These

failures have resulted in documented instances of forced labor, human trafficking, and numerous

other violations of worker safety.

        8.       Thus, Bumble Bee’s marketing—which suggests that Bumble Bee is advocating

for fishers and that it is committed to a “fair and safe supply chain”—is false and misleading.

        9.       Deceptive marketing representations that purport to ensure fair labor practices and

worker safety in fact impede meaningful efforts for change. As a market leader, Bumble Bee is

able to use its “fair and safe” claims to convince wide swaths of consumers that they can support

ethical practices without needing to change their purchasing habits, and to shut out advocacy

groups and competitors in efforts for genuine reform in commercial fishing. Indeed, Bumble Bee




     5 Impact:     Sustainability and Social Impact,            The    Bumble   Bee   Seafood   Company,
https://thebumblebeecompany.com/impacl/(last visited Mar. 14, 2022).
     6 Id.


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developed its code of conduct with the Seafood Task Force, an industry-led group—ensuring that

standards are set according to industry norms, instead of according to best practices. 7

                                    STATUTORY FRAMEWORK

        10.      This action is brought under the District of Columbia Consumer Protection

Procedures Act (“CPPA”), D.C. Code § 28-3901, et seq.

        11.     The CPPA makes it a violation for “any person” to, inter alia:

        Represent that goods or services have a source, sponsorship, approval, certification,
        accessories, characteristics, ingredients, uses, benefits, or quantities that they do not have;

        Represent that goods or services are of a particular standard, quality, grade, style, or model,
        if in fact they are of another;

        Misrepresent as to a material fact which has a tendency to mislead;

        Fail to state a material fact if such failure tends to mislead;

        Use innuendo or ambiguity as to a material fact, which has a tendency to mislead; or

        Advertise or offer goods or services without the intent to sell them or without the intent to
        sell them as advertised or offered.

D.C. Code § 28-3904(a), (d), (e), (f), (f-1), (h).

        12.     A violation occurs regardless of “whether or not any consumer is in fact misled,

deceived or damaged thereby.” Id.

        13.     The CPPA “establishes an enforceable right to truthful information from merchants

about consumer goods and services that are or would be purchased, leased, or received in the

District of Columbia.” Id. § 28-3901(c). It “shall be construed and applied liberally to promote its

purpose.” Id.




     1 Hannah Boles, Tracking Progress: Assessing Business Responses to Forced Labour and Human Trafficking in
the     Thai    Seafood      Industry,     Praxis     Labs,     at     10-11     (2019),    http://www.praxis-
labs.com/uploads/2/9/7/0/29709145/09_hu_report_final.pdf.


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        14.    Because GLJ-ILRF is a public-interest organization, it may act on behalf of the

general public and bring any action that an individual consumer would be entitled to bring:

               [A] public interest organization may, on behalf of the interests of a consumer or a
               class of consumers, bring an action seeking relief from the use by any person of a
               trade practice in violation of a law of the District if the consumer or class could
               bring an action under subparagraph (A) of this paragraph for relief from such use
               by such person of such trade practice.

Id. § 28-3905(k)(l)(D)(i). Subparagraph (A) provides: “A consumer may bring an action seeking

relief from the use of a trade practice in violation of a law of the District.”

        15.     A public-interest organization may act on behalf of consumers, i.e., the general

public of the District of Columbia, so long as the organization has a “sufficient nexus to the

interests involved of the consumer or class to adequately represent those interests.” Id. § 28-

3905(k)(l)(D)(ii). As set forth in this Complaint, see infra ]}]} 66-69, Plaintiff GLJ-ILRF’s mission

is to advocate for workers and educate consumers on fair and safe labor practices, which it has

long done within the District of Columbia. GLJ-ILRF thus has a sufficient nexus to District

consumers to adequately represent their interests.

        16.     This is not a class action, or an action brought on behalf of any specific consumer,

but an action brought by GLJ-ILRF on behalf of the general public, i.e.. District consumers who

purchase seafood and may be targeted by Bumble Bee’s marketing claims. No class certification

will be requested.

        17.     This action does not seek damages. Instead, GLJ-ILRF seeks to end the unlawful

conduct directed at District consumers. Remedies available under the CPPA include “[a]n

injunction against the use of the unlawful trade practice.” Id. § 28- 3905(k)(2)(D). GLJ-ILRF also

seeks declaratory relief in the form of an order holding Bumble Bee’s conduct to be unlawful.




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                                              FACT ALLEGATIONS

I.      Bumble Bee’s Marketing Represents That its Labor Practices Are Fair and Safe.

        18.          Bumble Bee, one of America’s largest producers of canned tuna products,8 markets

and advertises the Products in the District of Columbia. It seeks to reach the District consumer

base online through its social media platforms, company websites, and other media.

        19.          Bumble Bee’s marketing targets consumers concerned with fair and safe supply

chains by, among other things, making promises that its labor practices are “best-in-class. ”9

        20.          Across its advertising, Bumble Bee makes representations that its labor practices

are superlative. Bumble Bee leads consumers to believe that it leads the industry in upholding

standards for fair and safe working conditions.
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        21.          On a webpage of Bumble Bee’s website labeled “Sustainability & Social Impact,”

the company boasts that it is a “champion [for] sustainable fishing and advocate for fishers” and

“committed to ensuring the safe treatment” of everyone in its supply chain.11




    8 Sam Bloch, Bumble Bee, one ofAmerica’s largest tuna companies, files for bankruptcy. The Counter (Nov. 22,
2019), https://thecounter.org/bumble-bee-canned-tuna-bankmptcy-christopher-lischewski/.
    9 Impact: Sustainability and Social Impact, supra note 5.
    10 Seafood Future Report 2020, The Bumble Bee Company, https://thebumblebeecompany.com/wp-
content/uploads/2020/06/Bumble-Bee-Seafood-Future-Report_High-Res.pdf (last visited Mar. 14, 2022).
    11
       Impact: Sustainability and Social Impact, supra note 5.


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        22.     Bumble Bee reiterates its commitment to “fair and responsible working

conditions,” as well as “sustainable livelihoods for workers,” in its Seafood Future Report (the

“Report”).12 The Report also emphasizes the importance of “the safety and well-being of all those

who contribute” to Bumble Bee’s supply chain.13

        23.     In the Report, Bumble Bee states that it has “continued to lead the charge through

[its] work as founders of the International Seafood Sustainability Foundation, [its] role in the

world’s first Fair Trade Certified fishery in Indonesia and [its] leadership driving longline tuna

Fishery Improvement Projects. ”14

        24.     Additionally, Bumble Bee promises to “Do[] good for [its] communities near and

far,” while also promising a “fair and safe supply chain. ”15

        25.     Bumble Bee uses its social media accounts to reinforce its commitment to fair and

safe working practices.

        26.     For example, Bumble Bee’s Instagram emphasizes its commitment to ensuring its

workers’ safety. In a post celebrating World Ocean’s Day, the company wrote that it will “always

advocate for [its] fishers and support [its] communities. ”16




    12 Seafood Future Report 2020, supra note 10.
    13 Id.
    uId.
    15
       Id
    16
            Bumble      Bee      Seafoods       (@bumblebeefoods),   Instagram   (Jun.   8,   2020),
https://www.instagram.eom/p/CBMZ5f01SB5/.


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           27.         Bumble Bee also touts its commitment to promoting fair and safe working

conditions by claiming that it requires its suppliers to comply with the Seafood Task Force Code

of Conduct (the “Code”) in order to maintain a relationship with the company.

II.        Bumble Bee’s Supply Chain Involves Unfair and Unsafe Commercial Fishing
           Practices.

           28.         Contrary to Bumble Bee’s representations, Bumble Bee and its parent company and

supplier FCF engage in, and allow members of their supply chain to engage in, unfair and unsafe

labor practices.

           29.         Indeed, Bumble Bee and FCF’s poor track record for labor practices is so well-

documented that in September 2021, Greenpeace (with the backing of several other human rights

organizations) lodged a Section 307 petition18 with the U.S. Customs and Border Protection,

requesting that the U.S. government investigate and possibly block the import of FCF seafood,




      17
       Id.
    18 Section 307 of the U.S. Tariff Act of 1930, 19 U.S.C. § 1307, prohibits the entry into the United States of
products manufactured through the use of forced labor.


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including that imported under the Bumble Bee brand, to U.S. markets due to concerns over forced

labor in the supply chain.19

        30.      In commenting on the petition, Greenpeace stated:

                 “For years, Greenpeace and other organizations have documented
                 reports of destructive fishing practices and human rights abuses in
                 FCF’s supply chains. We’re confident that there is enough
                 reasonable suspicion that seafood traded by FCF and imported by
                 Bumble Bee and other US companies is produced by forced
                 labor.”20

        31.      The Section 307 petition reflects the long history of labor abuses in Bumble Bee’s

supply chain. This supply chain relies on fishing methods widely recognized as inherently prone

to labor abuses. Far from being “best-in-class,” the labor standards touted by Bumble Bee to

address these issues fall far short of international standards. There is also a documented history of

abuses and subpar working conditions in fishing vessels associated with the production of Bumble

Bee’s Products.21

        32.      In short, Bumble Bee has repeatedly failed to actualize its claims that it prioritizes

the fair treatment and safety of its laborers.

        A.       Bumble Bee’s Supply Chain Employs Fishing Methods That are Inherently

                 Unsafe.

        33.      The tuna in Bumble Bee’s Products is sourced through “distant water fishing,” a

practice that involves vessels traveling long distances outside of their own nation’s waters and that

is recognized by the U.S. Customs and Border Protection as a practice at high risk for forced labor:




     19 Organizations urge U.S. to block From Taiwanese seafood giant overforced labor concerns, Greenpeace (Sept.
9, 2021), https://www.greenpeace.org/southeaslasia/press/44640/organizations-urge-u-s-to-block-imports-from-
taiwanese-seafood-giant-over-forced-labor-concems/.
     20 Id.
     21 Choppy Waters: Forced Labour and Illegal Fishing in Taiwan’s Distant Water Fisheries, Greenpeace (Mar.
19, 2020), https://www.greenpeace.org/usa/wp-contenl/uploads/2020/03/b87c6229-2020-choppy-waters-en.pdf.


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                  “The distant water fishing industry is at high risk of forced labor as
                  foreign companies often coerce vulnerable migrant workers to
                  perform hazardous labor for little or no pay about distant water
                  fishing vessels that may spend months at sea without making port
                  calls.”22

         34.      Due to the migration habits of tuna, the tuna fishing industry particularly relies on

distant water fishing, resulting in fleets that operate far from shore, unlike most other fishing

vessels.23

         35.      The long periods of time that such vessels spend at sea, without monitoring,

inherently foster conditions that permit forced labor and other abuses to occur.24 These harsh

conditions typically fall to poor, indebted migrant workers who are unable to escape their situation

due to the time at sea.25

         36.      This risk is heightened by the practice of transshipment at sea, a process associated

with distant water fishing and permitted by Bumble Bee, which requires an exchange of goods

between ships while out at sea.26 Transshipment has been highlighted by many organizations as an

easy way for fishing vessels to commit human rights abuses because of lack of oversight.27

         37.      Global Fishing Watch describes transshipment as a process involving floating

unregulated ports that can “open the door” for “maritime crimes to take place, such as the

trafficking of weapons, drugs, and even people. ”28


     22 CBP Issues Withhold Release Order on Chinese Fishing Fleet, U.S. Customs and Border Protection (May 28,
2021), https://www.cbp.gov/newsroom/national-media-release/cbp-issues-withhold-release-order-chinese-fishing-
fleet.
     23 Revealing the Supply Chain at Sea, Global Fishing Watch (Apr. 2021), at 4, https ://globalfishingwatch.org/wp-
content/uploads/Revealing-the-Supply-Chain-at-Sea_FINAL_2021 .pdf.
     u Id. at 1.
     25 Andy Shen, Why Bumble Bee Tuna Should Concern You (Hint: It’s Human Rights and Destructive Fishing),
Greenpeace (Mar. 19, 2020), https://www.greenpeace.org/usa/why-bumble-bee-tuna-should-concem-you-hint-its-
human-rights-and-destructive-fishing/.
     26 Id.
     21 Id.
     28
             Transshipment,      Global      Fishing      Watch,       https://globalfishingwatch.org/transshipment-
success/#:~:text=Trouble%20with%20transshipment&text=It%20can%20enable%20fishers%20to,need%20to%20re
tum%20to%20port (last visited Mar. 17, 2022).


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        38.      Transshipment can allow for the skirting labor and other regulations by transferring

catches from vessels that may be denied access to ports due to past infringements and onto other

boats, thus mixing legal and illegal catches.29

        39.      In a submission to the World Trade Organization regarding concerns over forced

labor in the fishing industry, the U.S. government noted that transshipment “enables a vessel to

offload fish and receive fuel and supplies at sea, without returning to port for long periods of time,

[which] may also allow vessels using forced labor to evade detection. ”30

        40.      Bumble Bee’s supply chain also practices “longline” fishing, a fishing technique

that “requires backbreaking, dangerous, and relentless work. ”31

        41.      Thus, Bumble Bee’s representations that it is “best-in-class” in terms of fair and

safe labor practices and that it is a “champion [for] sustainable fishing and advocate for fishers ”32

are contradicted by the inherent problems in Bumble Bee’s fishing practices.

        B.       Bumble Bee Fails to Abide by Relevant International Laws and Standards
                 Regarding Worker Safety and Fair Labor Practices.

        42.      Bumble Bee’s worker safety policies and procedures outlined in the Code are based

on a set of principles it developed with the Seafood Task Force—an industry-led, non-independent

group.33

        43.      Because the Code is designed to serve as an industry-wide set of minimum

standards, followed by most of Bumble Bee’s competitors,34 Bumble Bee’s adoption of the Code


     29 Transshipment, supra note 28, at 2.
     30 Office of the United States Trade Representative, The Use ofForced Labor on Fishing Vessels: Submission of
the                    United                  States               (May                26,                2021),
https://ustr.gov/sites/default/files/IssueAreas/Trade%20OrganizationsAVTO/US.Proposal.Forced.Labor.26May2021.
final%5B2%5D.pdf.
     31 Shen, supra note 25.
     32 Impact: Sustainability and Social Impact, supra note 5.
     33 Shen, supra note 25.
     34 Current Members, Seafood Task Force, https://www.seafoodtaskforce.globaFabout/current-members/ (last
visited Mar. 17, 2022).


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cannot be said to represent “best-in-class” standards or anything that would ensure uniquely “fair”

or “safe” practices in Bumble Bee’s supply chain.

         44.     Moreover, these internal standards offer far less protection for workers than is

available under international law.35

         45.      The labor protections in the Code fall short of those set by the International Labor

Organization’s (the “ILO”) Work in Fishing Convention.36

         46.     For example, the policy of FCF, Bumble Bee’s parent company and primary

supplier, says only that crew must have “sufficient time to rest”—far short of the ILO’s Work in

Fishing Convention mandate that crew must have at least 10 hours of rest per day. 37

         47.     FCF also fails to prohibit widespread abusive practices like recruitment fees and

repatriation deposits, which are used to financially burden poor, migrant workers.38 In addition,

FCF’s requirements for regular pay only call for workers to be paid quarterly, as opposed to the

ILO’s Work in Fishing Convention’s monthly payment mandate.39

         48.     Even FCF’s inadequate standards are largely unenforced, with only a minority of

its long-term suppliers falling under the company’s social auditing program,40 and as many as 40%

the vessels it sources from are free agents whose labor conditions FCF cannot control.41 FCF does




     35 Shen, supra note 25. See also Taking Stock: Labor Exploitation, Illegal Fishing and Brand Irresponsibility in
the              Seafood           Industry,            ILRF,         at         42           (May             2018),
https://laborrights.org/sites/default/files/publications/Taking%20Stock%20final.pdf and Helen Packer et al.,
Corporate Social Responsibility (CSR) Practices of the Largest Seafood Suppliers in the Wild Capture Fisheries
Sector: From Vision to Action, 11 Sustainability 2254 (2019).
     36 Choppy Waters, supra note 21.
     31 Id.
     38 Tuna Sustainability Policy, FCF Co., Ltd.                      (Oct.  13, 2020),      https://fcf.com.tw/wp-
content/uploads/2021/07/FCF-Tuna-Sustainability-Policy_v3.0-101320-l-l.pdf.
     39 M
     40 Company Update (Vol. 1): Social Responsibility Program, FCF Co., Ltd. (Apr. 2020),
https ://fcf. com.tw/company -update-vol-1/.
     41 Choppy Waters, supra note 21.


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not appear to have any formal process of identifying and addressing human rights risks among its

suppliers.42

        49.     Bumble Bee’s own monitoring policies are also woefully insufficient, with Bumble

Bee itself admitting in 2020 that it had only audited 30 supplier vessels.43

        50.     Tragically, these policy failures are not just theoretical. They have enabled the

dangerous, unfair, and abusive treatment of Bumble Bee’s workers.

        51.     In 2020, Greenpeace released a report44 chronicling the abuse experienced by

workers on board a supply ship employed by Bumble Bee and FCF,45 Bumble Bee’s parent

company and supplier. The report gave detailed accounts of 34-hour workdays, inadequate sleep,

withheld wages, and little to no food.46

        52.     These abusive conditions and reports of forced labor prompted the U. S. government

to halt imports from that same Taiwan-based fishing vessel implicated in the Greenpeace report.47

        53.     Neither Bumble Bee nor FCF disputed the connection to the Taiwanese fishing

vessel.48

        54.     Furthermore, the ILO also emphasizes the importance of regularly conducting

audits of fishing vessels by trained and impartial observers to ensure fair and safe working




     42 Seafood Stewardship Index, supra note 4.
     43 Seafood Future Report 2020, supra note 10.
     44 Choppy Waters, supra note 21.
     45 Ben Fox, US halts imports linked to Taiwan-based fishing vessel. Associated Press (Aug. 20, 2020),
https://apnews.com/article/0cb7aa0b2980d741ecc72e755e0ea852.
     46 Choppy Waters, supra note 21.
     47 Fox, supra note 45.
     48 Id.


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conditions aboard fishing vessels.49 These fishery observers risk their lives to provide oversight

and protect workers.50

        55.      Bumble Bee has failed to protect these fishery observers, and in so doing has failed

to protect the safety of its workers.

        56.      In March 2020, fisheries observer Eritara Aati Kaierua was reported dead by

crewmembers working aboard Win Far No. 636, a Taiwanese-flagged tuna vessel associated with

FCF.51 Kaierua was employed through a regional observer program of the Western and Central

Pacific Fisheries Commission (“WCPFC”). Many observers employed by WCPFC have reported

instances of intimidation and requests by the crew to not report any observations.52

III.    Bumble Bee’s Representations Are Material and Misleading to Consumers.

        57.      Bumble Bee’s false and misleading representations about its fair and safe labor

practices are material to consumers.

        58.      Consumers care deeply about human trafficking and other forms of forced labor in

supply chains. A national survey found that 60% of consumers would stop using a product if they

knew that human trafficking or forced labor was used to create it.53

        59.      A majority of consumers would stop buying from brands that they believe are

unethical. Moreover, 35% of consumers would stop buying from brands they perceive as unethical


     49 Handbook on Improving living and working conditions on board fishing vessels. International Labour
Organization,                                          https://www.ilo.org/wcmsp5/groups/public/—eddialogue/—
sector/documents/publication/wcms_162323.pdf (last visited Mar. 17, 2022).
     50    Observer Deaths and Disappearances, Association for Professional Observers, https://www.apo-
observers.org/misses (last visited Mar. 17, 2022).
     51
        Alleged Murdered Kiribati Fisheries Observer Family Left Without Financial Support, Human Rights at Sea
(June 8, 2020), https://www.humanrightsatsea.org/news/alleged-murdered-kiribati-fisheries-observer-family-left-
without-financial-support/; see also, UN intervention needed on suspected murder case linked to Bumble Bee Foods
parent company, Greenpeace (June 13, 2020), https://www.greenpeace.org/usa/news/rm-intervention-needed-on-
suspected-murder-case-linked-to-bumble-bee-foods-parent-company/.
     52 Observer Deaths and Disappearances, supra note 50.
     53 Even If Consumers Aren’t Aware of Human Trafficking, Companies Need to Be, Enterra Solutions (Mar. 6,
2020), https://enterrasolutions.com/blog/even-if-consumers-arent-aware-of-human-trafficking-companies-need-to-
be/.


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even if there is no substitute is available.54 Additionally, 63% of consumers feel that ethical issues

are becoming more important.55

         60.    Consumers are concerned with fairness and safety issues throughout the supply

chain.

         61.    A survey of 5,000 consumers showed that significant segments of the national

consumer base prioritize “more transparency from food producers and retailers,” “accountability

and transparency through the entire food supply chain,” and “fair treatment of workers. ”56

         62.    Consumers expect, at a minimum, that the fair and safe labor practices outlined by

Bumble Bee’s Seafood Future Report or social media posts would be adhered to.

         63.    Because there have been numerous documented reports of Bumble Bee’s failure to

provide fair and safe working conditions for its laborers (see supra Section II), and because

Bumble Bee’s labor standards fall far short of international expectations, its marketing of its

Products as “best-in-class” in terms of worker safety and labor practices are misleading to

consumers.

                                                PARTIES

         64.    Defendant Bumble Bee Foods, LLC is incorporated in Delaware and has its

principal executive office in San Diego, California. Bumble Bee produces, processes, markets, and

distributes canned and pouch-packaged tuna products, meal kits, and snack products. As of June

2020, it is owned by FCF Co. Ltd., a Taiwanese seafood producer.




     54 56% of Americans Stop Buying From Brands They Believe Are Unethical, Mintel (Nov. 18, 2015),
https://www.mintel.com/press-centre/social-and-lifeslyle/56-of-americans-stop-buying-from-brands-they-believe-
are-unethical.
     ss Id.
     56 Consumer Survey Shows Changing Definition of Food Safety, Food Safety News (Feb. 4, 2016),
https://www.foodsafetynews.com/2016/02/123246/.


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         65.     Bumble Bee’s Products are available in a wide variety of national supermarket

chains, regional stores, and other retail outlets, including stores in the District.

         66.     Plaintiff GLJ-ILRF is a § 501(c)(3) non-profit public-interest organization

dedicated to achieving dignity and justice for workers worldwide. GLJ-ILRF focuses on enforcing

labor rights and promoting decent work conditions consistent with best practices and ILO

standards in the low-wage sections of global supply chains such as commercial fishing. GLJ-ILRF

engages in research, policy work, advocacy, and education of the public and consumers.

         67.      A central part of GLJ-ILRF’s work is to inform and educate the public, including

consumers, about global supply chain business models that create patterns of harm to workers,

including those working in commercial fishing.57 Believing that “[cjonsumers have the right to

know and the power to advance transparency and accountability, ”58 GLJ-ILRF “is working to

make corporate global supply chains more transparent so consumers can use their dollars to stand

with workers.”59 Historically, GLJ-ILRF has also published materials, like its “Shop With a

Conscience” Consumer Guides, aimed at helping consumers shop ethically. 60

         68.      GLJ-ILRF also works to shed light on the falsity of various certification schemes

in the seafood industry, which consumers rely on in making their purchases.61 These include the




    57
        ILRF’s key strategy for change is to strengthen the voices of workers and ensure they have access to justice,
ILRF, https://laborrights.org/strategies (last visited Mar. 17, 2022).
        About, ILRF, https://laborrights.org/about (last visited Mar. 17, 2022).
     59 ILRF’s key strategy, supra note 57.
     60    Shop     with    a    Conscience       Consumer      Guide Launched,      ILRF     (Nov.    17,    2009),
https://laborrights.org/blog/200911/shop-conscience-consumer-guide-launched.
     61 “We [... ] work to ensure consumers can depend on the integrity of labels and certifications that purport to
guarantee decent working conditions for workers who make the products.” ILRF’s key strategy, supra note 57.


                                                         16
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FISH Standard for Crew62 and the Marine Stewardship Council’s revised Chain of Custody

Certification.63

        69.        GLJ-ILRF works with unions, civil society, and high-level actors in global supply

chains to achieve responsible business practices and meaningful change.64 GLJ-ILRF coordinates

the Seafood Working Group, a global coalition of human rights, labor and environmental

organizations that work together to develop and advocate for effective government policies and

industry actions to end the related problems of labor exploitation, illegal fishing and overfishing

in the international seafood trade.65

                                     JURISDICTION AND VENUE

        70.        This court has personal jurisdiction over the parties in this case. GLJ-ILRF

performs its work throughout the United States, including the District of Columbia. GLJ-ILRF is

registered as a nonprofit in the District of Columbia, and some of GLJ-ILRF’s staff reside and

work in or near the District.

        71.        This Court has personal jurisdiction over Bumble Bee because Bumble Bee has

purposefully directed its conduct to the district and has availed itself of the benefits and protections

of District of Columbia law.

        72.        The Court has subject matter jurisdiction over this action under the CPPA, D.C. §

28-3901, et seq.




     62 Seafood Working Group, Retailers: The FISH Standard for Crew will fail to detect labor abuse, ILRF (Apr.
20, 2021), https://laborrights.org/publications/retailers-fish-standard-crew-will-fail-detect-labor-abuse.
     63 Public Statement on MSC's Revised Chain of Custody Certification, ILRF (June 10, 2019),
https://laborrights.org/publications/public-statement-mscs-revised-chain-custody-certification.
     64     Kimberly         Rogovin,        Time      for     a     Sea     Change,         ILRF      (Mar. 2020),
https://laborrights.org/sites/default/files/publications/ILRF_TimeforaSeaChange.pdf.
65 Seafood Working Group, ILRF, https://laborrights.org/industries/seafood?qt-quicktabs_seafood=3#qt-
quicktabs seafood (last visited Mar. 21, 2022).


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        73.    Venue is proper in this Court because Bumble Bee aims marketing and advertising

material at consumers within the District. Bumble Bee internet advertising is accessible in the

District. Bumble Bee’s Products can be, and are, purchased in the District by District consumers.

                                       CAUSE OF ACTION

          Violations of the District of Columbia Consumers Protection Procedures Act

        74.    GLJ-ILRF incorporates by reference all the allegations of the preceding paragraphs

of this Complaint.

        75.    GLJ-ILRF is a non-profit, public-interest organization that brings these claims on

behalf of the general public and District consumers. See D.C. Code § 28-3905(k)(l)( D)(i).

        76.    Through § 28-3905(k)(l)(C), the D.C. CPPA allows for non-profit organizational

standing to the fullest extent recognized by the D.C. Court of Appeals in its past and future

decisions addressing the limits of Constitutional standing under Article III.

        77.    Through § 28-3905(k)(l)(D)(i), the D.C. CPPA explicitly allows for public-interest

organizational standing even beyond that which is afforded pursuant to § 28-3905(k)(l)(C) and

allows a public-interest organization to stand in the shoes of a consumer to seek relief from any

violation of the CPPA.

        78.    Bumble Bee is a “person” and a merchant that provides “goods” within the meaning

of the CPPA. See id. § 28-3901(a)(l), (3), (7).

        79.    Bumble Bee has advertised and marketed the Products with phrases such as “best-

in-class culture of safety” and “fair and responsible working conditions,” when, in fact, Bumble

Bee sells tuna products caught by laborers who are subjected to inhuman conditions that do not

meet the standards Bumble Bee set for itself. Thus, Bumble Bee has violated the CPPA by

“represent[ing] that goods . . . have a source . . . [or] characteristics . . . that they do not have”;




                                                  18
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“represent[ing] that goods ... are of a particular standard, quality, grade, style, or model, if in fact

they are of another”; “misrepresent[ing] as to a material fact which has a tendency to mislead”;

“fail[ing] to state a material fact if such failure tends to mislead”; “us[ing] innuendo or ambiguity

as to a material fact, which has a tendency to mislead”; and “advertis[ing] . . . goods . . . without

the intent to sell them as advertised.” See id. § 28-3904(a), (d), (e), (f), (f-1), (h).

                                      JURY TRIAL DEMAND

        80.      Plaintiff GLJ-ILRF hereby demands a trial by jury.

                                       PRAYER FOR RELIEF

        Wherefore, Plaintiff GLJ-ILRF prays for judgment against Bumble Bee and requests the

following relief:

        a.       A declaration that Bumble Bee’s conduct is in violation of the CPPA;

        b.       An order enjoining Bumble Bee’s conduct found to be in violation of the CPPA;

and

        c.       An order granting Plaintiff costs and disbursements, including reasonable

attorneys’ fees and expert fees, and prejudgment interest at the maximum rate allowable by law.

DATED: March 21, 2021                                    RICKMAN LAW & POLICY



                                                         Kim E. Richman (D.C. Bar No. 1022978)
                                                         Clark Binkley (pro hac vice forthcoming)
                                                         1 Bridge Street, Suite 83
                                                         Irvington, NY 10533
                                                         T: (718) 705-4579
                                                         krichman@richmanlawpolicy.com
                                                         cbinkley@richmanlawpolicy.com




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    Superior Court of the District of Columbia
                                   CIVIL DIVISION- CIVIL ACTIONS BRANCH
 INTERNATIONAL LABOR RIGHTS FORUM      INFORMATION SHEET
 d/b/a GLOBAL LABOR JUSTICE-INTERNATIONAL
 LABOR RIGHTS FORUM                           Case Number:

                          vs                                            Date; 3/21/2022

 BUMBLE BEE FOODS, LLC                                                   I I One of the defendants is being sued
                                                                             in their official capacity.
Name: (Please Print)                                                                          Relationship to Lawsuit
Kim E. Richman
                                                                                                    DO Attorney for Plaintiff
Firm Name:
Richman Law & Policy                                                                                □ Self (ProSe)
Telephone No.:                   Six digit Unified Bar No.:
(718) 705-4579                                                                                      EH Other:
                                 1022978
TYPE OF CASE: EH Non-Juiy                             EH 6 Person Jury                              El 12 Person Jury
Demand: $ N/A______________                                                         Other:
PENDING CASE(S) RELATED TO THE ACTION BEING FILED
Case No.:                    Judge:_______________                                                 Calendar #:

Case No.:                                         Judge:                                            Calendar#:


NATURE OF SUIT:                (Check One Box Only)
A. CONTRACTS                                                 COLLECTION CASES

   EH    01 Breach of Contract                EH 14 Under $25,000 Pltf. Grants Consent EH 16 Under $25,000 Consent Denied
   EH    02 Breach of Warranty                EH 17 OVER $25,000 Pltf. Grants ConsentEH 18 OVER $25,000 Consent Denied
   EH    06 Negotiable Instrument             EH 27 Insurance/Subrogation               EH 26 Insurance/Subrogation
   I I   07 Personal Property                        Over $25,000 Pltf. Grants Consent        Over $25,000 Consent Denied
  I I    13 Employment Discrimination         I I 07 Insurance/Subrogation              EH 3 4 Insurance/Subrogation
  | |    15 Special Education Fees                   Under $25,000 Pltf. Grants Consent        Under $25,000 Consent Denied
                                              EH 28 Motion to Confirm Arbitration
                                                     Award (Collection Cases Only)
B. PROPERTY TORTS

  EH 01 Automobile                    EH 03 Destmction of Private Property                          EH 05 Trespass
  EH 02 Conversion                    EH 04 Property Damage
  EH 07 Shoplifting, D.C. Code § 27-102 (a)

C. PERSONAL TORTS

  EH     01 Abuse of Process              EH     10 Invasion of Privacy                             EH 17 Personal Injury- (Not Automobile,
  EH     02 Alienation of Affection       EH     11 Libel and Slander                                     Not Malpractice)
  I I    03 Assault and Battery           EH     12 Malicious Interference                          EH ISWrongful Death (Not Malpractice)
  EH     04 Automobile-Personal Injury    EH     13 Malicious Prosecution                           EH 19 Wrongful Eviction
  FYl    05 Deceit (Misrepresentation)    EH     14 Malpractice Legal                               EH 20 Friendly Suit
  I I    06 False Accusation              I     115 Malpractice Medical (Including Wrongful Deatli) I   I 2.1 AsbeStOS
  EH     07 False Arrest                  I     I 16 Negligence- (Not Automobile,                   EH 22 Toxic/Mass Torts
  EH     08 Fraud                                    Not Malpractice)                               EH 23 Tobacco
                                                                                                    I I 24 Lead Paint
                                         SEE REVERSE SIDE AND CHECK HERE                            IF USED


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                Case 1:22-cv-01220-DLF Document 1 Filed 05/02/22 Page 36 of 73

                             Information Sheet, Continued

C. OTHERS
  □ 01 Accounting                          EH 17 Merit Personnel Act (OEA)
  I I 02 Att. Before Judgment                  (D.C. Code Title 1, Chapter 6)
  I I 05 Ejectment                         I I 18 Product Liability
  EH 09 Special WritAVarrants
       (DC Code § 11-941)                  EH 24 Application to Confirm, Modify,
  I I 10 Traffic Adjudication                 Vacate Arbitration Award (DC Code § 16-4401)
  I I 11 Writ of Replevin                  EH 29 Merit Personnel Act (OHR)
  EH 12 Enforce Mechanics Lien             EH 31 Housing Code Regulations
  EH 16 Declaratory Judgment               EH 32 Qui Tam
                                           EH 33 Whistleblower



II.
      EH03 Change of Name                   EH 15 Libel of Information               EH 21 Petition for Subpoena
      EH06 Foreign Judgment/Domestic EH 19 Enter Administrative Order as                    [Rule 28-1 (b)]
      EH08 Foreign Judgment/International          Judgment [ D.C. Code §            EH 22 Release Mechanics Lien
      EH 13 Correction of Birth Certificate        2-1802.03 (h) or 32-151 9(a)]     EH 23 Rule 27(a)(1)
      EH 14 Correction of Marriage          EH 20 Master Meter (D.C. Code §              (Perpetuate Testimony)
            Certificate                             42-3301, et seq.)                EH 24 Petition for Structured Settlement
      EH 26 Petition for Civil Asset Forfeiture (Vehicle)                            EH 25 Petition for Liquidation
      EH 27 Petition for Civil Asset Forfeiture (Currency)
      EH 28 Petition for Civil Asset Forfeiture (Other)



D. REAL PROPERTY

      EH    09 Real Property-Real Estate              EH 08 Quiet Title
      EH    12 Specific Performance                   EH 25 Liens: Tax / Water Consent Granted
      I I   04 Condemnation (Eminent Domain)          EH 30 Liens: Tax / Water Consent Denied
      EH    10 Mortgage Foreclosure/Judicial Sale EH 31 Tax Lien Bid Off Certificate Consent Granted
      EH    11 Petition for Civil Asset Forfeiture (RP)




               //.         >     //       *

                                                                                   3/21/2022
                      Attorney’s Signature                                                          Date




CV-496/June 2015
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          EXHIBIT B
                          Case 1:22-cv-01220-DLF   Document
                                        Superior Court         1 Filed
                                                       of the District of 05/02/22
                                                                          Columbia Page 38 of Filed
                                                                                              73
                                                   CIVIL DIVISION                             D.C. Superior Court
                                                               Civil Actions Brandi                                                      03/25/2022 12:29PM
                                          500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001                                    Clerk of the Court
          XSrgJsii
                                               Telephone: (202) 879-1133 Website: www.dccourts.gov
     International Labor Rights Forum dba Global Labor Justice - International Labor Rights Forum


                                                                                 Plaintiff
                                                vs.
                                                                                                                Case Number          2022 CA 001235 B
     Bumble Bee Foods, LLC
                                                                                Defendant

                                                                               SUMMONS
  To the above named Defendant:

          You are hereby summoned and required to serve an Answer to the attached Complaint, either
  personally or through an attorney, within twenty one (21) days after service of this summons upon you,
  exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
  or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
  Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
  attorney’s name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
  to the plaintiff at the address stated on this Summons.

         You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
 N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
  Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
 the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
 judgment by default may be entered against you for the relief demanded in the complaint.

  Kim E. Richman                                                                                         Clerk of the Court
 Name of Plaintiff s Attorney
  1 Bridge St., Ste 83, Irvington, NY 10533
                                                                                               By ..
 Address                                                                                                                Deputy Clerk


  (718) 705-4579                                                                               Date
 Telephone
                      (202) 879-4828                  Veuiiiez appeler an (202) 879-4828 pour tine traduction       Be co nidi, bai dich, hay goi (202) 879-4828
                     (202) 879-4828*                             S'.WtcT           A^l-Trl- (202) 879-4828   &Sa>*<Y-



   IMPQRTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
 ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
 MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
 COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
 REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
 ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

    If you wish to talk to a lawyer and fed that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
 Legal Aid Society (202-628-1161) or the Neighborhood Legal Sendees (202-279-5100) for help or conte to Suite 5000 at 500
 Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

                                                               See reverse side for Spanish translation
                                                                Vea al dorso la traduccion al espatiol




CV-3110 [Rev. June 2017]                                                                                                                    Super. Ct. Civ. R. 4
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                                       TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                                DIVISION CIVIL

             u   m         i S
                           &
                                                         Seccion de Acciones Civiles
                                         500 Isidiasia Avenue, N.W., Suite 5000, Washington, D.C. 20001
                                                 Telefono: (202) 879-1133 Sitio web: www.dccourts.gov




                                                                  Demandante
                                        contra
                                                                                                  Numero de Caso:

                                                                  Demandado

                                                                  CITATORIO
       A1 susodicho Demandado:
                Por la presente se ie cita a comparecer y se le require entregar una Contestation a la Demanda adjunta, sea en
       persona o por medio de un abogado, en el plazo de veintiun (21) dias contados despnes que usted haya recibido este
       citatorio, excluyendo el dia misrno de la entrega del citatorio. Si usted esta siendo demandado en caiidad de oficial o
       agente del Gobierno de los Estados Unidos de Norteamerica o del Gobiemo del Distritp: de Columbia, tiene usted
       sesenta (60) dlas, contados despues que usted haya recibido este citatorio, para entregar su Contestation. Tiene que
       enviarle por correo una copia de su Contestaeibn al abogado de la parte demandante. El nombre y direceion del
       abogado aparecen al final de este doeumento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
       copia de la Contestation por correo a la direction que aparece en este Citatorio.

               A usted tambien se le require presentar la Contestacioit original ai Tribunal en la Oficina 5000, sito en 500
       Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de lunes a yiemes o entre las 9:00 a.m. y las 12:00 del mediodia
       los sabados. Usted puede presentar la Contestation original ante el Inez ya sea antes que usted le entregue al
       demandante una copia de la Contestacion o en el plazo de siete (7) dias de haherle becho la entrega al demandante. Si
       usted incumple eon presentar una Contestacion, podria dictarse un fallo en rebeldia contra usted para que se haga
       elective el desagravio que se busea en la demanda.
                                                                            SECRETARJO DEL TRIBUNAL
      Nombre del abogado del Demandante

                                                                              Por:
      Direceion                                                                                               Subsecretario


                                                                              Fecha
      Telefono
       mmmwMfi'm (202) 879-428              Veuillez appeler an (202) 879-4828 pour urse traduction      Be co mot bai dich, hay goi (202) 879-4828
                   rtera £jo~*:qj;<202;879-4828                           VbncN                     (202) 879-4828

         IMPORTANTE: Si USTED INCUMPLE CON PRESENTAR UNA CONTESTACION EN EL PLAZO ANTES
      MEN CIONADO O, SI LUEGO DE CONTE STAR, USTED NO COMPARECE CUANDO LE A VISE EL JUZGADO, PODRIA
      DICTARSE UN FALLO;EN REBELDiA CONTRA USTED PARA QUE SE LE COBRE LOS DANOS Y PERJUICIOS U OTRO
      DESAGRAVIO QUE SE BUSQUE EN LA. DEMANDA. Si ESTO OCURRE, PODRIA RETENERSELE SUS INGRESOS, O
      PODRIA TOMARSELE SUS BTENES PERSON ALES O BIENES RAICES Y SER VENDIDOS PARA PAGAR EL FALLO. Si
      USTED PRETENDE OPONERSE A ESTA ACCION, NO DELE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
      EXIG1DO.

         Si desea conversar con un abogado y le parece que no puede pagarle a uno, llame pronto a una de nuestras oficinas del Legal Aid
      Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
      Indiana Avenue, N.W., para infonnarse sobre otros lugares donde puede pedirayuda al respecto.

                                                       Vea al dorso el original en ingles
                                                      See reverse side for English original
CV-3110 [Rev. June 2017]                                                                                                  Super. Ct. Civ. R. 4
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          EXHIBIT C
            Case 1:22-cv-01220-DLF Document 1 Filed 05/02/22 Page 41 of Filed
                                                                        73
                                                                                     D.C. Superior Court
                                                                                     03/28/2022 1B:21BM
                                                                                     Clerk of the Court

                     SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                   CIVIL DIVISION



                                                            )
INTERNATIONAL LABOR RIGHTS FORUM                            )
d/b/a GLOBAL LABOR JUSTICE-INTERNATIONAL                    )        2022 CA 001235 B
LABOR RIGHTS FORUM,                                         )
a non-profit corporation,                                   )
1634 I Street NW, Suite 1000                                )
Washington, D.C. 20006                                      )
                                                            )
                                     Plaintiff,             )
                                                            )
                v.                                          )
                                                            )
BUMBLE BEE FOODS, EEC                                       )
280 10th Avenue,                                            )
San Diego, CA 92101                                         )
                                     Defendant.             )



                                         COMPLAINT

       On behalf of itself and the general public, and in the interest of consumers, Plaintiff

International Labor Rights Forum d/b/a Global Labor Justice-International Labor Rights Forum

(“GLJ-ILRF”) brings this action against Defendant Bumble Bee Foods, LLC (“Bumble Bee”)

concerning its false and deceptive marketing representations that its industrial tuna products are

produced through a “fair and safe supply chain,” despite significant evidence of forced labor and

worker safety violations. GLJ-ILRF alleges the following based upon personal knowledge,

information, and belief.

                                       INTRODUCTION

       1.       The use of fair labor practices and the promotion of worker safety is of growing

concern to consumers.




                                                  1
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        2.        This is a consumer-protection case concerning deceptive marketing representations

about Bumble Bee’s tuna products (the “Products”).1 This case is brought by GLJ-ILRF, a non­

profit, public-interest organization dedicated to fair labor practices, workers’ rights, and consumer

education. GLJ-ILRF seeks no monetary damages, only an end to the deceptive marketing and

advertising at issue.

         3.       Defendant Bumble Bee is one of the largest producers of canned tuna in the United

States, which it markets under its name and various other brand names.

        4.        In June 2020, Bumble Bee was acquired by FCF Co. Ltd. (“FCF”), a Taiwan-based

seafood producer. Even before Bumble Bee was formally acquired by FCF, the company acquired

between 70% and 95% of the tuna used in its major Products through FCF.2

         5.       Most of the tuna produced through FCF’s supply chain comes from fishing methods

and regions recognized by U.S. government agencies as high risk for forced labor and other

abuses.3 Bumble Bee has thus long relied on FCF’s supply chain and profited from the well-

documented and endemic labor abuses therein.4

         6.       Nevertheless, Bumble Bee makes marketing and advertising representations that

convey to consumers, including consumers in the District of Columbia, that Bumble Bee is “best-

in-class” in terms of its worker safety standards and that it is the company’s “mission” to

“champion sustainable fishing” throughout the Products supply chain.




     1 Discovery may reveal that additional Bumble Bee brands and products should be included within the scope of
the allegations in this Complaint, and Plaintiff reserves the right to add such products.
     2 Declaration of Kent McNeil in Support of Chapter 11 Petitions and First-Day Motions at 50, In re Bumble Bee
Parent, Inc., No. 19-12502, 2020 Bankr. LEXIS 3369 (Bankr. D. Del. Dec. 1, 2020).
     3 2020 List of Goods Produced by Child Labor or Forced Labor, U.S. Department of Labor (Sept. 2020),
https://www.dol.gov/sites/dolgov/files/ILAB/child_labor_reports/tda2019/2020_TVPRA_List_Online_Final.pdf.
     4    Seafood       Stewardship     Index:      FCF       Co.,      Ltd.,    World    Benchmarking    Alliance,
https://www.worldbenchmarkingalliance.org/publication/seafood-stewardship-index/companies/fcf-co/ (last visited
Mar. 21, 2022).


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        WORKS^ SAFETY
        W<? wifi continue to champion ou? besi'in-ciaos cohure of safety in Bumbio Bee
        facilities to ensure adherence to established and thorough safety protocols.
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                             Our purpose Is fa feed people’s lives
                             through the power of the ocean. It is
                             per pdsslop to champion susfolnoble
                             fishing end advocate for fishers, sotting
                             tomorrow's standards through the
                             notions we take todap                              6


        7.       In reality, far from being “advocate[s]” for fishers, Bumble Bee and its supplier and

parent company FCF have a long history of engaging in and/or allowing unfair and dangerous

labor practices in the commercial fishing of the seafood that ends up in Bumble Bee Products.

Bumble Bee’s supply chain not only falls short of international laws and standards regarding fair

labor practices, but also employs fishing methods that are inherently dangerous for workers. These

failures have resulted in documented instances of forced labor, human trafficking, and numerous

other violations of worker safety.

        8.       Thus, Bumble Bee’s marketing—which suggests that Bumble Bee is advocating

for fishers and that it is committed to a “fair and safe supply chain”—is false and misleading.

        9.       Deceptive marketing representations that purport to ensure fair labor practices and

worker safety in fact impede meaningful efforts for change. As a market leader, Bumble Bee is

able to use its “fair and safe” claims to convince wide swaths of consumers that they can support

ethical practices without needing to change their purchasing habits, and to shut out advocacy

groups and competitors in efforts for genuine reform in commercial fishing. Indeed, Bumble Bee




     5 Impact:     Sustainability and Social Impact,            The    Bumble   Bee   Seafood   Company,
https://thebumblebeecompany.com/impacl/(last visited Mar. 14, 2022).
     6 Id.


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developed its code of conduct with the Seafood Task Force, an industry-led group—ensuring that

standards are set according to industry norms, instead of according to best practices. 7

                                    STATUTORY FRAMEWORK

        10.      This action is brought under the District of Columbia Consumer Protection

Procedures Act (“CPPA”), D.C. Code § 28-3901, et seq.

        11.     The CPPA makes it a violation for “any person” to, inter alia:

        Represent that goods or services have a source, sponsorship, approval, certification,
        accessories, characteristics, ingredients, uses, benefits, or quantities that they do not have;

        Represent that goods or services are of a particular standard, quality, grade, style, or model,
        if in fact they are of another;

        Misrepresent as to a material fact which has a tendency to mislead;

        Fail to state a material fact if such failure tends to mislead;

        Use innuendo or ambiguity as to a material fact, which has a tendency to mislead; or

        Advertise or offer goods or services without the intent to sell them or without the intent to
        sell them as advertised or offered.

D.C. Code § 28-3904(a), (d), (e), (f), (f-1), (h).

        12.     A violation occurs regardless of “whether or not any consumer is in fact misled,

deceived or damaged thereby.” Id.

        13.     The CPPA “establishes an enforceable right to truthful information from merchants

about consumer goods and services that are or would be purchased, leased, or received in the

District of Columbia.” Id. § 28-3901(c). It “shall be construed and applied liberally to promote its

purpose.” Id.




     1 Hannah Boles, Tracking Progress: Assessing Business Responses to Forced Labour and Human Trafficking in
the     Thai    Seafood      Industry,     Praxis     Labs,     at     10-11     (2019),    http://www.praxis-
labs.com/uploads/2/9/7/0/29709145/09_hu_report_final.pdf.


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        14.    Because GLJ-ILRF is a public-interest organization, it may act on behalf of the

general public and bring any action that an individual consumer would be entitled to bring:

               [A] public interest organization may, on behalf of the interests of a consumer or a
               class of consumers, bring an action seeking relief from the use by any person of a
               trade practice in violation of a law of the District if the consumer or class could
               bring an action under subparagraph (A) of this paragraph for relief from such use
               by such person of such trade practice.

Id. § 28-3905(k)(l)(D)(i). Subparagraph (A) provides: “A consumer may bring an action seeking

relief from the use of a trade practice in violation of a law of the District.”

        15.     A public-interest organization may act on behalf of consumers, i.e., the general

public of the District of Columbia, so long as the organization has a “sufficient nexus to the

interests involved of the consumer or class to adequately represent those interests.” Id. § 28-

3905(k)(l)(D)(ii). As set forth in this Complaint, see infra ]}]} 66-69, Plaintiff GLJ-ILRF’s mission

is to advocate for workers and educate consumers on fair and safe labor practices, which it has

long done within the District of Columbia. GLJ-ILRF thus has a sufficient nexus to District

consumers to adequately represent their interests.

        16.     This is not a class action, or an action brought on behalf of any specific consumer,

but an action brought by GLJ-ILRF on behalf of the general public, i.e.. District consumers who

purchase seafood and may be targeted by Bumble Bee’s marketing claims. No class certification

will be requested.

        17.     This action does not seek damages. Instead, GLJ-ILRF seeks to end the unlawful

conduct directed at District consumers. Remedies available under the CPPA include “[a]n

injunction against the use of the unlawful trade practice.” Id. § 28- 3905(k)(2)(D). GLJ-ILRF also

seeks declaratory relief in the form of an order holding Bumble Bee’s conduct to be unlawful.




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                                              FACT ALLEGATIONS

I.      Bumble Bee’s Marketing Represents That its Labor Practices Are Fair and Safe.

        18.          Bumble Bee, one of America’s largest producers of canned tuna products,8 markets

and advertises the Products in the District of Columbia. It seeks to reach the District consumer

base online through its social media platforms, company websites, and other media.

        19.          Bumble Bee’s marketing targets consumers concerned with fair and safe supply

chains by, among other things, making promises that its labor practices are “best-in-class. ”9

        20.          Across its advertising, Bumble Bee makes representations that its labor practices

are superlative. Bumble Bee leads consumers to believe that it leads the industry in upholding

standards for fair and safe working conditions.
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        21.          On a webpage of Bumble Bee’s website labeled “Sustainability & Social Impact,”

the company boasts that it is a “champion [for] sustainable fishing and advocate for fishers” and

“committed to ensuring the safe treatment” of everyone in its supply chain.11




    8 Sam Bloch, Bumble Bee, one ofAmerica’s largest tuna companies, files for bankruptcy. The Counter (Nov. 22,
2019), https://thecounter.org/bumble-bee-canned-tuna-bankmptcy-christopher-lischewski/.
    9 Impact: Sustainability and Social Impact, supra note 5.
    10 Seafood Future Report 2020, The Bumble Bee Company, https://thebumblebeecompany.com/wp-
content/uploads/2020/06/Bumble-Bee-Seafood-Future-Report_High-Res.pdf (last visited Mar. 14, 2022).
    11
       Impact: Sustainability and Social Impact, supra note 5.


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        22.     Bumble Bee reiterates its commitment to “fair and responsible working

conditions,” as well as “sustainable livelihoods for workers,” in its Seafood Future Report (the

“Report”).12 The Report also emphasizes the importance of “the safety and well-being of all those

who contribute” to Bumble Bee’s supply chain.13

        23.     In the Report, Bumble Bee states that it has “continued to lead the charge through

[its] work as founders of the International Seafood Sustainability Foundation, [its] role in the

world’s first Fair Trade Certified fishery in Indonesia and [its] leadership driving longline tuna

Fishery Improvement Projects. ”14

        24.     Additionally, Bumble Bee promises to “Do[] good for [its] communities near and

far,” while also promising a “fair and safe supply chain. ”15

        25.     Bumble Bee uses its social media accounts to reinforce its commitment to fair and

safe working practices.

        26.     For example, Bumble Bee’s Instagram emphasizes its commitment to ensuring its

workers’ safety. In a post celebrating World Ocean’s Day, the company wrote that it will “always

advocate for [its] fishers and support [its] communities. ”16




    12 Seafood Future Report 2020, supra note 10.
    13 Id.
    uId.
    15
       Id
    16
            Bumble      Bee      Seafoods       (@bumblebeefoods),   Instagram   (Jun.   8,   2020),
https://www.instagram.eom/p/CBMZ5f01SB5/.


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           27.         Bumble Bee also touts its commitment to promoting fair and safe working

conditions by claiming that it requires its suppliers to comply with the Seafood Task Force Code

of Conduct (the “Code”) in order to maintain a relationship with the company.

II.        Bumble Bee’s Supply Chain Involves Unfair and Unsafe Commercial Fishing
           Practices.

           28.         Contrary to Bumble Bee’s representations, Bumble Bee and its parent company and

supplier FCF engage in, and allow members of their supply chain to engage in, unfair and unsafe

labor practices.

           29.         Indeed, Bumble Bee and FCF’s poor track record for labor practices is so well-

documented that in September 2021, Greenpeace (with the backing of several other human rights

organizations) lodged a Section 307 petition18 with the U.S. Customs and Border Protection,

requesting that the U.S. government investigate and possibly block the import of FCF seafood,




      17
       Id.
    18 Section 307 of the U.S. Tariff Act of 1930, 19 U.S.C. § 1307, prohibits the entry into the United States of
products manufactured through the use of forced labor.


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including that imported under the Bumble Bee brand, to U.S. markets due to concerns over forced

labor in the supply chain.19

        30.      In commenting on the petition, Greenpeace stated:

                 “For years, Greenpeace and other organizations have documented
                 reports of destructive fishing practices and human rights abuses in
                 FCF’s supply chains. We’re confident that there is enough
                 reasonable suspicion that seafood traded by FCF and imported by
                 Bumble Bee and other US companies is produced by forced
                 labor.”20

        31.      The Section 307 petition reflects the long history of labor abuses in Bumble Bee’s

supply chain. This supply chain relies on fishing methods widely recognized as inherently prone

to labor abuses. Far from being “best-in-class,” the labor standards touted by Bumble Bee to

address these issues fall far short of international standards. There is also a documented history of

abuses and subpar working conditions in fishing vessels associated with the production of Bumble

Bee’s Products.21

        32.      In short, Bumble Bee has repeatedly failed to actualize its claims that it prioritizes

the fair treatment and safety of its laborers.

        A.       Bumble Bee’s Supply Chain Employs Fishing Methods That are Inherently

                 Unsafe.

        33.      The tuna in Bumble Bee’s Products is sourced through “distant water fishing,” a

practice that involves vessels traveling long distances outside of their own nation’s waters and that

is recognized by the U.S. Customs and Border Protection as a practice at high risk for forced labor:




     19 Organizations urge U.S. to block From Taiwanese seafood giant overforced labor concerns, Greenpeace (Sept.
9, 2021), https://www.greenpeace.org/southeaslasia/press/44640/organizations-urge-u-s-to-block-imports-from-
taiwanese-seafood-giant-over-forced-labor-concems/.
     20 Id.
     21 Choppy Waters: Forced Labour and Illegal Fishing in Taiwan’s Distant Water Fisheries, Greenpeace (Mar.
19, 2020), https://www.greenpeace.org/usa/wp-contenl/uploads/2020/03/b87c6229-2020-choppy-waters-en.pdf.


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                  “The distant water fishing industry is at high risk of forced labor as
                  foreign companies often coerce vulnerable migrant workers to
                  perform hazardous labor for little or no pay about distant water
                  fishing vessels that may spend months at sea without making port
                  calls.”22

         34.      Due to the migration habits of tuna, the tuna fishing industry particularly relies on

distant water fishing, resulting in fleets that operate far from shore, unlike most other fishing

vessels.23

         35.      The long periods of time that such vessels spend at sea, without monitoring,

inherently foster conditions that permit forced labor and other abuses to occur.24 These harsh

conditions typically fall to poor, indebted migrant workers who are unable to escape their situation

due to the time at sea.25

         36.      This risk is heightened by the practice of transshipment at sea, a process associated

with distant water fishing and permitted by Bumble Bee, which requires an exchange of goods

between ships while out at sea.26 Transshipment has been highlighted by many organizations as an

easy way for fishing vessels to commit human rights abuses because of lack of oversight.27

         37.      Global Fishing Watch describes transshipment as a process involving floating

unregulated ports that can “open the door” for “maritime crimes to take place, such as the

trafficking of weapons, drugs, and even people. ”28


     22 CBP Issues Withhold Release Order on Chinese Fishing Fleet, U.S. Customs and Border Protection (May 28,
2021), https://www.cbp.gov/newsroom/national-media-release/cbp-issues-withhold-release-order-chinese-fishing-
fleet.
     23 Revealing the Supply Chain at Sea, Global Fishing Watch (Apr. 2021), at 4, https ://globalfishingwatch.org/wp-
content/uploads/Revealing-the-Supply-Chain-at-Sea_FINAL_2021 .pdf.
     u Id. at 1.
     25 Andy Shen, Why Bumble Bee Tuna Should Concern You (Hint: It’s Human Rights and Destructive Fishing),
Greenpeace (Mar. 19, 2020), https://www.greenpeace.org/usa/why-bumble-bee-tuna-should-concem-you-hint-its-
human-rights-and-destructive-fishing/.
     26 Id.
     21 Id.
     28
             Transshipment,      Global      Fishing      Watch,       https://globalfishingwatch.org/transshipment-
success/#:~:text=Trouble%20with%20transshipment&text=It%20can%20enable%20fishers%20to,need%20to%20re
tum%20to%20port (last visited Mar. 17, 2022).


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        38.      Transshipment can allow for the skirting labor and other regulations by transferring

catches from vessels that may be denied access to ports due to past infringements and onto other

boats, thus mixing legal and illegal catches.29

        39.      In a submission to the World Trade Organization regarding concerns over forced

labor in the fishing industry, the U.S. government noted that transshipment “enables a vessel to

offload fish and receive fuel and supplies at sea, without returning to port for long periods of time,

[which] may also allow vessels using forced labor to evade detection. ”30

        40.      Bumble Bee’s supply chain also practices “longline” fishing, a fishing technique

that “requires backbreaking, dangerous, and relentless work. ”31

        41.      Thus, Bumble Bee’s representations that it is “best-in-class” in terms of fair and

safe labor practices and that it is a “champion [for] sustainable fishing and advocate for fishers ”32

are contradicted by the inherent problems in Bumble Bee’s fishing practices.

        B.       Bumble Bee Fails to Abide by Relevant International Laws and Standards
                 Regarding Worker Safety and Fair Labor Practices.

        42.      Bumble Bee’s worker safety policies and procedures outlined in the Code are based

on a set of principles it developed with the Seafood Task Force—an industry-led, non-independent

group.33

        43.      Because the Code is designed to serve as an industry-wide set of minimum

standards, followed by most of Bumble Bee’s competitors,34 Bumble Bee’s adoption of the Code


     29 Transshipment, supra note 28, at 2.
     30 Office of the United States Trade Representative, The Use ofForced Labor on Fishing Vessels: Submission of
the                    United                  States               (May                26,                2021),
https://ustr.gov/sites/default/files/IssueAreas/Trade%20OrganizationsAVTO/US.Proposal.Forced.Labor.26May2021.
final%5B2%5D.pdf.
     31 Shen, supra note 25.
     32 Impact: Sustainability and Social Impact, supra note 5.
     33 Shen, supra note 25.
     34 Current Members, Seafood Task Force, https://www.seafoodtaskforce.globaFabout/current-members/ (last
visited Mar. 17, 2022).


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cannot be said to represent “best-in-class” standards or anything that would ensure uniquely “fair”

or “safe” practices in Bumble Bee’s supply chain.

         44.     Moreover, these internal standards offer far less protection for workers than is

available under international law.35

         45.      The labor protections in the Code fall short of those set by the International Labor

Organization’s (the “ILO”) Work in Fishing Convention.36

         46.     For example, the policy of FCF, Bumble Bee’s parent company and primary

supplier, says only that crew must have “sufficient time to rest”—far short of the ILO’s Work in

Fishing Convention mandate that crew must have at least 10 hours of rest per day. 37

         47.     FCF also fails to prohibit widespread abusive practices like recruitment fees and

repatriation deposits, which are used to financially burden poor, migrant workers.38 In addition,

FCF’s requirements for regular pay only call for workers to be paid quarterly, as opposed to the

ILO’s Work in Fishing Convention’s monthly payment mandate.39

         48.     Even FCF’s inadequate standards are largely unenforced, with only a minority of

its long-term suppliers falling under the company’s social auditing program,40 and as many as 40%

the vessels it sources from are free agents whose labor conditions FCF cannot control.41 FCF does




     35 Shen, supra note 25. See also Taking Stock: Labor Exploitation, Illegal Fishing and Brand Irresponsibility in
the              Seafood           Industry,            ILRF,         at         42           (May             2018),
https://laborrights.org/sites/default/files/publications/Taking%20Stock%20final.pdf and Helen Packer et al.,
Corporate Social Responsibility (CSR) Practices of the Largest Seafood Suppliers in the Wild Capture Fisheries
Sector: From Vision to Action, 11 Sustainability 2254 (2019).
     36 Choppy Waters, supra note 21.
     31 Id.
     38 Tuna Sustainability Policy, FCF Co., Ltd.                      (Oct.  13, 2020),      https://fcf.com.tw/wp-
content/uploads/2021/07/FCF-Tuna-Sustainability-Policy_v3.0-101320-l-l.pdf.
     39 M
     40 Company Update (Vol. 1): Social Responsibility Program, FCF Co., Ltd. (Apr. 2020),
https ://fcf. com.tw/company -update-vol-1/.
     41 Choppy Waters, supra note 21.


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not appear to have any formal process of identifying and addressing human rights risks among its

suppliers.42

        49.     Bumble Bee’s own monitoring policies are also woefully insufficient, with Bumble

Bee itself admitting in 2020 that it had only audited 30 supplier vessels.43

        50.     Tragically, these policy failures are not just theoretical. They have enabled the

dangerous, unfair, and abusive treatment of Bumble Bee’s workers.

        51.     In 2020, Greenpeace released a report44 chronicling the abuse experienced by

workers on board a supply ship employed by Bumble Bee and FCF,45 Bumble Bee’s parent

company and supplier. The report gave detailed accounts of 34-hour workdays, inadequate sleep,

withheld wages, and little to no food.46

        52.     These abusive conditions and reports of forced labor prompted the U. S. government

to halt imports from that same Taiwan-based fishing vessel implicated in the Greenpeace report.47

        53.     Neither Bumble Bee nor FCF disputed the connection to the Taiwanese fishing

vessel.48

        54.     Furthermore, the ILO also emphasizes the importance of regularly conducting

audits of fishing vessels by trained and impartial observers to ensure fair and safe working




     42 Seafood Stewardship Index, supra note 4.
     43 Seafood Future Report 2020, supra note 10.
     44 Choppy Waters, supra note 21.
     45 Ben Fox, US halts imports linked to Taiwan-based fishing vessel. Associated Press (Aug. 20, 2020),
https://apnews.com/article/0cb7aa0b2980d741ecc72e755e0ea852.
     46 Choppy Waters, supra note 21.
     47 Fox, supra note 45.
     48 Id.


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conditions aboard fishing vessels.49 These fishery observers risk their lives to provide oversight

and protect workers.50

        55.      Bumble Bee has failed to protect these fishery observers, and in so doing has failed

to protect the safety of its workers.

        56.      In March 2020, fisheries observer Eritara Aati Kaierua was reported dead by

crewmembers working aboard Win Far No. 636, a Taiwanese-flagged tuna vessel associated with

FCF.51 Kaierua was employed through a regional observer program of the Western and Central

Pacific Fisheries Commission (“WCPFC”). Many observers employed by WCPFC have reported

instances of intimidation and requests by the crew to not report any observations.52

III.    Bumble Bee’s Representations Are Material and Misleading to Consumers.

        57.      Bumble Bee’s false and misleading representations about its fair and safe labor

practices are material to consumers.

        58.      Consumers care deeply about human trafficking and other forms of forced labor in

supply chains. A national survey found that 60% of consumers would stop using a product if they

knew that human trafficking or forced labor was used to create it.53

        59.      A majority of consumers would stop buying from brands that they believe are

unethical. Moreover, 35% of consumers would stop buying from brands they perceive as unethical


     49 Handbook on Improving living and working conditions on board fishing vessels. International Labour
Organization,                                          https://www.ilo.org/wcmsp5/groups/public/—eddialogue/—
sector/documents/publication/wcms_162323.pdf (last visited Mar. 17, 2022).
     50    Observer Deaths and Disappearances, Association for Professional Observers, https://www.apo-
observers.org/misses (last visited Mar. 17, 2022).
     51
        Alleged Murdered Kiribati Fisheries Observer Family Left Without Financial Support, Human Rights at Sea
(June 8, 2020), https://www.humanrightsatsea.org/news/alleged-murdered-kiribati-fisheries-observer-family-left-
without-financial-support/; see also, UN intervention needed on suspected murder case linked to Bumble Bee Foods
parent company, Greenpeace (June 13, 2020), https://www.greenpeace.org/usa/news/rm-intervention-needed-on-
suspected-murder-case-linked-to-bumble-bee-foods-parent-company/.
     52 Observer Deaths and Disappearances, supra note 50.
     53 Even If Consumers Aren’t Aware of Human Trafficking, Companies Need to Be, Enterra Solutions (Mar. 6,
2020), https://enterrasolutions.com/blog/even-if-consumers-arent-aware-of-human-trafficking-companies-need-to-
be/.


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even if there is no substitute is available.54 Additionally, 63% of consumers feel that ethical issues

are becoming more important.55

         60.    Consumers are concerned with fairness and safety issues throughout the supply

chain.

         61.    A survey of 5,000 consumers showed that significant segments of the national

consumer base prioritize “more transparency from food producers and retailers,” “accountability

and transparency through the entire food supply chain,” and “fair treatment of workers. ”56

         62.    Consumers expect, at a minimum, that the fair and safe labor practices outlined by

Bumble Bee’s Seafood Future Report or social media posts would be adhered to.

         63.    Because there have been numerous documented reports of Bumble Bee’s failure to

provide fair and safe working conditions for its laborers (see supra Section II), and because

Bumble Bee’s labor standards fall far short of international expectations, its marketing of its

Products as “best-in-class” in terms of worker safety and labor practices are misleading to

consumers.

                                                PARTIES

         64.    Defendant Bumble Bee Foods, LLC is incorporated in Delaware and has its

principal executive office in San Diego, California. Bumble Bee produces, processes, markets, and

distributes canned and pouch-packaged tuna products, meal kits, and snack products. As of June

2020, it is owned by FCF Co. Ltd., a Taiwanese seafood producer.




     54 56% of Americans Stop Buying From Brands They Believe Are Unethical, Mintel (Nov. 18, 2015),
https://www.mintel.com/press-centre/social-and-lifeslyle/56-of-americans-stop-buying-from-brands-they-believe-
are-unethical.
     ss Id.
     56 Consumer Survey Shows Changing Definition of Food Safety, Food Safety News (Feb. 4, 2016),
https://www.foodsafetynews.com/2016/02/123246/.


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         65.     Bumble Bee’s Products are available in a wide variety of national supermarket

chains, regional stores, and other retail outlets, including stores in the District.

         66.     Plaintiff GLJ-ILRF is a § 501(c)(3) non-profit public-interest organization

dedicated to achieving dignity and justice for workers worldwide. GLJ-ILRF focuses on enforcing

labor rights and promoting decent work conditions consistent with best practices and ILO

standards in the low-wage sections of global supply chains such as commercial fishing. GLJ-ILRF

engages in research, policy work, advocacy, and education of the public and consumers.

         67.      A central part of GLJ-ILRF’s work is to inform and educate the public, including

consumers, about global supply chain business models that create patterns of harm to workers,

including those working in commercial fishing.57 Believing that “[cjonsumers have the right to

know and the power to advance transparency and accountability, ”58 GLJ-ILRF “is working to

make corporate global supply chains more transparent so consumers can use their dollars to stand

with workers.”59 Historically, GLJ-ILRF has also published materials, like its “Shop With a

Conscience” Consumer Guides, aimed at helping consumers shop ethically. 60

         68.      GLJ-ILRF also works to shed light on the falsity of various certification schemes

in the seafood industry, which consumers rely on in making their purchases.61 These include the




    57
        ILRF’s key strategy for change is to strengthen the voices of workers and ensure they have access to justice,
ILRF, https://laborrights.org/strategies (last visited Mar. 17, 2022).
        About, ILRF, https://laborrights.org/about (last visited Mar. 17, 2022).
     59 ILRF’s key strategy, supra note 57.
     60    Shop     with    a    Conscience       Consumer      Guide Launched,      ILRF     (Nov.    17,    2009),
https://laborrights.org/blog/200911/shop-conscience-consumer-guide-launched.
     61 “We [... ] work to ensure consumers can depend on the integrity of labels and certifications that purport to
guarantee decent working conditions for workers who make the products.” ILRF’s key strategy, supra note 57.


                                                         16
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FISH Standard for Crew62 and the Marine Stewardship Council’s revised Chain of Custody

Certification.63

        69.        GLJ-ILRF works with unions, civil society, and high-level actors in global supply

chains to achieve responsible business practices and meaningful change.64 GLJ-ILRF coordinates

the Seafood Working Group, a global coalition of human rights, labor and environmental

organizations that work together to develop and advocate for effective government policies and

industry actions to end the related problems of labor exploitation, illegal fishing and overfishing

in the international seafood trade.65

                                     JURISDICTION AND VENUE

        70.        This court has personal jurisdiction over the parties in this case. GLJ-ILRF

performs its work throughout the United States, including the District of Columbia. GLJ-ILRF is

registered as a nonprofit in the District of Columbia, and some of GLJ-ILRF’s staff reside and

work in or near the District.

        71.        This Court has personal jurisdiction over Bumble Bee because Bumble Bee has

purposefully directed its conduct to the district and has availed itself of the benefits and protections

of District of Columbia law.

        72.        The Court has subject matter jurisdiction over this action under the CPPA, D.C. §

28-3901, et seq.




     62 Seafood Working Group, Retailers: The FISH Standard for Crew will fail to detect labor abuse, ILRF (Apr.
20, 2021), https://laborrights.org/publications/retailers-fish-standard-crew-will-fail-detect-labor-abuse.
     63 Public Statement on MSC's Revised Chain of Custody Certification, ILRF (June 10, 2019),
https://laborrights.org/publications/public-statement-mscs-revised-chain-custody-certification.
     64     Kimberly         Rogovin,        Time      for     a     Sea     Change,         ILRF      (Mar. 2020),
https://laborrights.org/sites/default/files/publications/ILRF_TimeforaSeaChange.pdf.
65 Seafood Working Group, ILRF, https://laborrights.org/industries/seafood?qt-quicktabs_seafood=3#qt-
quicktabs seafood (last visited Mar. 21, 2022).


                                                        17
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        73.    Venue is proper in this Court because Bumble Bee aims marketing and advertising

material at consumers within the District. Bumble Bee internet advertising is accessible in the

District. Bumble Bee’s Products can be, and are, purchased in the District by District consumers.

                                       CAUSE OF ACTION

          Violations of the District of Columbia Consumers Protection Procedures Act

        74.    GLJ-ILRF incorporates by reference all the allegations of the preceding paragraphs

of this Complaint.

        75.    GLJ-ILRF is a non-profit, public-interest organization that brings these claims on

behalf of the general public and District consumers. See D.C. Code § 28-3905(k)(l)( D)(i).

        76.    Through § 28-3905(k)(l)(C), the D.C. CPPA allows for non-profit organizational

standing to the fullest extent recognized by the D.C. Court of Appeals in its past and future

decisions addressing the limits of Constitutional standing under Article III.

        77.    Through § 28-3905(k)(l)(D)(i), the D.C. CPPA explicitly allows for public-interest

organizational standing even beyond that which is afforded pursuant to § 28-3905(k)(l)(C) and

allows a public-interest organization to stand in the shoes of a consumer to seek relief from any

violation of the CPPA.

        78.    Bumble Bee is a “person” and a merchant that provides “goods” within the meaning

of the CPPA. See id. § 28-3901(a)(l), (3), (7).

        79.    Bumble Bee has advertised and marketed the Products with phrases such as “best-

in-class culture of safety” and “fair and responsible working conditions,” when, in fact, Bumble

Bee sells tuna products caught by laborers who are subjected to inhuman conditions that do not

meet the standards Bumble Bee set for itself. Thus, Bumble Bee has violated the CPPA by

“represent[ing] that goods . . . have a source . . . [or] characteristics . . . that they do not have”;




                                                  18
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“represent[ing] that goods ... are of a particular standard, quality, grade, style, or model, if in fact

they are of another”; “misrepresent[ing] as to a material fact which has a tendency to mislead”;

“fail[ing] to state a material fact if such failure tends to mislead”; “us[ing] innuendo or ambiguity

as to a material fact, which has a tendency to mislead”; and “advertis[ing] . . . goods . . . without

the intent to sell them as advertised.” See id. § 28-3904(a), (d), (e), (f), (f-1), (h).

                                      JURY TRIAL DEMAND

        80.      Plaintiff GLJ-ILRF hereby demands a trial by jury.

                                       PRAYER FOR RELIEF

        Wherefore, Plaintiff GLJ-ILRF prays for judgment against Bumble Bee and requests the

following relief:

        a.       A declaration that Bumble Bee’s conduct is in violation of the CPPA;

        b.       An order enjoining Bumble Bee’s conduct found to be in violation of the CPPA;

and

        c.       An order granting Plaintiff costs and disbursements, including reasonable

attorneys’ fees and expert fees, and prejudgment interest at the maximum rate allowable by law.

DATED: March 21, 2021                                    RICKMAN LAW & POLICY



                                                         Kim E. Richman (D.C. Bar No. 1022978)
                                                         Clark Binkley (pro hac vice forthcoming)
                                                         1 Bridge Street, Suite 83
                                                         Irvington, NY 10533
                                                         T: (718) 705-4579
                                                         krichman@richmanlawpolicy.com
                                                         cbinkley@richmanlawpolicy.com




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    Superior Court of the District of Columbia
                                   CIVIL DIVISION- CIVIL ACTIONS BRANCH
 INTERNATIONAL LABOR RIGHTS FORUM      INFORMATION SHEET
 d/b/a GLOBAL LABOR JUSTICE-INTERNATIONAL
 LABOR RIGHTS FORUM                           Case Number:                                              2022 CA 001235 B

                          vs                                            Date; 3/21/2022

 BUMBLE BEE FOODS, LLC                                                   I I One of the defendants is being sued
                                                                             in their official capacity.
Name: (Please Print)                                                                          Relationship to Lawsuit
Kim E. Richman
                                                                                                    DO Attorney for Plaintiff
Firm Name:
Richman Law & Policy                                                                                □ Self (ProSe)
Telephone No.:                   Six digit Unified Bar No.:
(718) 705-4579                                                                                      EH Other:
                                 1022978
TYPE OF CASE: EH Non-Juiy                             EH 6 Person Jury                              El 12 Person Jury
Demand: $ N/A______________                                                         Other:
PENDING CASE(S) RELATED TO THE ACTION BEING FILED
Case No.:                    Judge:_______________                                                 Calendar #:

Case No.:                                         Judge:                                            Calendar#:


NATURE OF SUIT:                (Check One Box Only)
A. CONTRACTS                                                 COLLECTION CASES

   EH    01 Breach of Contract                EH 14 Under $25,000 Pltf. Grants Consent EH 16 Under $25,000 Consent Denied
   EH    02 Breach of Warranty                EH 17 OVER $25,000 Pltf. Grants ConsentEH 18 OVER $25,000 Consent Denied
   EH    06 Negotiable Instrument             EH 27 Insurance/Subrogation               EH 26 Insurance/Subrogation
   I I   07 Personal Property                        Over $25,000 Pltf. Grants Consent        Over $25,000 Consent Denied
  I I    13 Employment Discrimination         I I 07 Insurance/Subrogation              EH 3 4 Insurance/Subrogation
  | |    15 Special Education Fees                   Under $25,000 Pltf. Grants Consent        Under $25,000 Consent Denied
                                              EH 28 Motion to Confirm Arbitration
                                                     Award (Collection Cases Only)
B. PROPERTY TORTS

  EH 01 Automobile                    EH 03 Destmction of Private Property                          EH 05 Trespass
  EH 02 Conversion                    EH 04 Property Damage
  EH 07 Shoplifting, D.C. Code § 27-102 (a)

C. PERSONAL TORTS

  EH     01 Abuse of Process              EH     10 Invasion of Privacy                             EH 17 Personal Injury- (Not Automobile,
  EH     02 Alienation of Affection       EH     11 Libel and Slander                                     Not Malpractice)
  I I    03 Assault and Battery           EH     12 Malicious Interference                          EH ISWrongful Death (Not Malpractice)
  EH     04 Automobile-Personal Injury    EH     13 Malicious Prosecution                           EH 19 Wrongful Eviction
  FYl    05 Deceit (Misrepresentation)    EH     14 Malpractice Legal                               EH 20 Friendly Suit
  I I    06 False Accusation              I     115 Malpractice Medical (Including Wrongful Deatli) I   I 2.1 AsbeStOS
  EH     07 False Arrest                  I     I 16 Negligence- (Not Automobile,                   EH 22 Toxic/Mass Torts
  EH     08 Fraud                                    Not Malpractice)                               EH 23 Tobacco
                                                                                                    I I 24 Lead Paint
                                         SEE REVERSE SIDE AND CHECK HERE                            IF USED


CV-496/June 2015
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                             Information Sheet, Continued

C. OTHERS
  □ 01 Accounting                          EH 17 Merit Personnel Act (OEA)
  I I 02 Att. Before Judgment                  (D.C. Code Title 1, Chapter 6)
  I I 05 Ejectment                         I I 18 Product Liability
  EH 09 Special WritAVarrants
       (DC Code § 11-941)                  EH 24 Application to Confirm, Modify,
  I I 10 Traffic Adjudication                 Vacate Arbitration Award (DC Code § 16-4401)
  I I 11 Writ of Replevin                  EH 29 Merit Personnel Act (OHR)
  EH 12 Enforce Mechanics Lien             EH 31 Housing Code Regulations
  EH 16 Declaratory Judgment               EH 32 Qui Tam
                                           EH 33 Whistleblower



II.
      EH03 Change of Name                   EH 15 Libel of Information               EH 21 Petition for Subpoena
      EH06 Foreign Judgment/Domestic EH 19 Enter Administrative Order as                    [Rule 28-1 (b)]
      EH08 Foreign Judgment/International          Judgment [ D.C. Code §            EH 22 Release Mechanics Lien
      EH 13 Correction of Birth Certificate        2-1802.03 (h) or 32-151 9(a)]     EH 23 Rule 27(a)(1)
      EH 14 Correction of Marriage          EH 20 Master Meter (D.C. Code §              (Perpetuate Testimony)
            Certificate                             42-3301, et seq.)                EH 24 Petition for Structured Settlement
      EH 26 Petition for Civil Asset Forfeiture (Vehicle)                            EH 25 Petition for Liquidation
      EH 27 Petition for Civil Asset Forfeiture (Currency)
      EH 28 Petition for Civil Asset Forfeiture (Other)



D. REAL PROPERTY

      EH    09 Real Property-Real Estate              EH 08 Quiet Title
      EH    12 Specific Performance                   EH 25 Liens: Tax / Water Consent Granted
      I I   04 Condemnation (Eminent Domain)          EH 30 Liens: Tax / Water Consent Denied
      EH    10 Mortgage Foreclosure/Judicial Sale EH 31 Tax Lien Bid Off Certificate Consent Granted
      EH    11 Petition for Civil Asset Forfeiture (RP)




               //.         >     //       *

                                                                                   3/21/2022
                      Attorney’s Signature                                                          Date




CV-496/June 2015
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                          SUPERIOR COURT OF THE DISTRICT OF COUUMBIA
  n X®)                             CIVIU DIVISION Civil Actions Branch
                           500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                              Telephone: (202) 879-1133 • Website: www.dccourts.gov



INTERNATIONAL LABOR RIGHTS FORUM
   Vs.                                                               C.A. No.       2022 CA 001235 B
BUMBLE BEE FOODS, EEC

                                     INITIAL ORDER AND ADDENDUM

           Pursuant to D.C. Code § 11-906 and District of Columbia Superior Court Rule of Civil Procedure
                           ("Super. Ct. Civ. R.") 40-1, it is hereby ORDERED as follows:

     (1) This case is assigned to the judge and calendar designated below. All future filings in this case shall
bear the calendar number and the judge’s name beneath the case number in the caption.
     (2) Within 60 days of the filing of the complaint, plaintiff must file proof of service on each defendant of
copies of (a) the summons, (b) the complaint, and (c) this Initial Order and Addendum. The court will dismiss
the claims against any defendant for whom such proof of service has not been filed by this deadline, unless the
court extended the time for service under Rule 4(m).
     (3) Within 21 days of service (unless otherwise provided in Rule 12), each defendant must respond to the
complaint by filing an answer or other responsive pleading. The court may enter a default and a default
judgment against any defendant who does not meet this deadline, unless the court extended the deadline
 under Rule 55(a).
     (4) At the time stated below, all counsel and unrepresented parties shall participate in a remote hearing to
establish a schedule and discuss the possibilities of settlement. Counsel shall discuss with their clients before the
hearing whether the clients are agreeable to binding or non-binding arbitration. This order is the only notice
that parties and counsel will receive concerning this hearing.
     (5) If the date or time is inconvenient for any party or counsel, the Civil Actions Branch may continue the
Conference once, with the consent of all parties, to either of the two succeeding Fridays. To reschedule the
hearing, a party or lawyer may call the Branch at (202) 879-1133. Any such request must be made at least seven
business days before the scheduled date.
No other continuance of the conference will be granted except upon motion for good cause shown.
     (6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
cases, each judge’s Supplement to the General Order and the General Mediation Order. Copies of these orders
are available in the Courtroom and on the Court’s website http://vvww.dccourts.gov/.



                                                              Chief Judge Anita M. Josey-Herring

Case Assigned to: Judge SHANA FROST MATINI
Date:        March 24, 2022
Initial Conference: REMOTE HEARING - DO NOT COME TO COURTHOUSE
SEE REMOTE HEARING INSTRUCTIONS ATTACHED TO INITIAL ORDER

9:30 am, Friday, June 24, 2022
Location: Courtroom 517
          500 Indiana Avenue N.W.
          WASHINGTON, DC 20001
                                                     1                                          CAIO-60
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                              ADDENDUM TO INITIAL ORDER AFFECTING
                                ALL MEDICAL MALPRACTICE CASES

              D.C. Code § 16-2821, which part of the Medical Malpractice Proceedings Act of 2006, provides,               "[a]fter
action is fded in the court against a healthcare provider alleging medical malpractice, the court shall require the parties to
enter into mediation, without discovery or, if all parties agree [,] with only limited discovery that will not interfere with the
completion of mediation within 30 days of the Initial Scheduling and Settlement Conference (‘ISSC’"), prior to any further
litigation in an effort to reach a settlement agreement. The early mediation schedule shall be included in the Scheduling
Order following the ISSC. Unless all parties agree, the stay of discovery shall not be more than 30 days after the ISSC."

         To ensure compliance with this legislation, on or before the date of the ISSC, the Court will notify all attorneys
and pro se parties of the date and time of the early mediation session and the name of the assigned mediator. Information
about the early mediation date also is available over the internet at https://www:dccourts.gov/pa/. To facilitate this process,
all counsel and pro se parties in every medical malpractice case are required to confer, jointly complete and sign an
EARLY MEDIATION FORM, which must be filed no later than ten (10) calendar days prior to the ISSC.
D.C. Code § 16-2825 Two separate Early Mediation Forms are available.                  Both forms may be obtained at
www.dccourts.gov/medmalmediation. One form is to be used for early mediation with a mediator from the multi-door
medical malpractice mediator roster; the second form is to be used for early mediation with a private mediator. Plaintiffs
counsel is responsible for eFiling the form and is required to e-mail a courtesy copy to earfymedmal@dcsc.gov.
Unrepresented plaintiffs who elect not to eFile must either mail the form to the Multi-Door Dispute Resolution Office at,
Suite 2900, 410 E Street, N.W., Washington, DC 20001, or deliver if in person if the Office is open for in-person visits.

          A roster of medical malpractice mediators available through the Court's Multi-Door Dispute Resolution Division,
with biographical information about each mediator, can be found at www.dccourts.gov/medmalmediation/mediatorprofiles.
All individuals on the roster are judges or lawyers with at least 10 years of significant experience in medical malpractice
litigation. D.C. Code § 16-2823(a). If the parties cannot agree on a mediator, the Court will appoint one. D.C. Code § 16-
2823(b).

          The following people are required by D.C. Code § 16-2824 to attend personally the Early Mediation Conference:
(1) all parties; (2) for parties that are not individuals, a representative with settlement authority; (3) in cases involving an
insurance company, a representative of the company with settlement authority; and (4) attorneys representing each party
with primary responsibility for the case.

          No later than ten (10) days after the early mediation session has terminated, Plaintiff must eFile with the Court a
report prepared by the mediator, including a private mediator, regarding: (1) attendance; (2) whether a settlement was
reached; or, (3) if a settlement was not reached, any agreements to narrow the scope of the dispute, limit discovery,
facilitate future settlement, hold another mediation session, or otherwise reduce the cost and time of trial preparation.
D.C. Code§ 16-2826. Any Plaintiff who is unrepresented may mail the form to the Civil Actions Branch at [address] or
deliver it in person if the Branch is open for in-person visits. The forms to be used for early mediation reports are available
at www. dccourts. gov/medmalmediation.



                                                                           Chief Judge Anita M. Josey-Herring




                                                            2                                                    CAIO-60
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                                   Civil Remote Hearing Instructions for Participants



       The following instructions are for participants who are scheduled to have cases heard before a Civil Judge
       in a Remote Courtroom



            Optionl: (AUDIO ONLY/Dial-in by Phone):


     Toll 1 (844) 992-4762 or (202) 860-2110, enter the Meeting ID from the attachment followed by
     #, press again to enter session.


              »     P/ea.se evil no soomr than 5 rninutas before your scheduled hearing time. Once you hove joined
                    the session, pkvase oiace your phone on muta until dimetad otnerwieu. if you should hooeen to get
                    disconnected from the coil, oieose coii back in using the phono number nod access number
                    provided non the courtroom dork whi mu to your end until the appropriate time.

      If you select Option 2 or Option 3 use the Audio Alternative

Option 2: (LAPTOP/ DESKTOP USERS 1):

                  Open Web Browser in Google Chrome and copy and paste following address from the next page:
                  https://dccourts.webex.com/meet/XXXXXXXXX



Option 3: (LAPTOP/ DESKTOP USERS 2):

             Open Web Browser in Google Chrome and copy and paste following address
             https^/dccourfewebex^m Select Join, enter the Meeting ID from the next page


                                                                                                                            5
     AUDIO AlTuAMATIVS: Instead of automatically using USE COMPUTER FOR AUDIO, select CALL-
     IN and follow the CALL-IN prompt window. Use a cell phone or desk phone. You will be heard
     clearer if you do not place your phone on SPEAKER. It is very important that you
                                                                                                                            ■
     enter the ACCESS ID # so that your audio is matched with your video.

Option 4: (Ipad/SMART PHONE/TABLET):

                        Go to App Store, Download WebEx App (Cisco WebEx Meetings)
                        Sign into the App with your Name and Email Address
                        Select Join Meeting
                        Enter address from the next page: https://dccourts.webex.com/meet/XXXXXXXXX
                        Click join and make sure your microphone is muted and your video is unmuted (if you need to be
                        seen). If you only need to speak and do not need to be seen, use the audio only option.
                        When you are ready click "Join Meeting". If the host has not yet started the meeting, you will be
                        placed in the lobby until the meeting begins.


                          For Technical Questions or issues Call: (202) 879-1928, Option #2




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                                      Superior Court of the District of Columbia
                                      Public Access for Remote Court Hearings
                                             (Effective August 24, 2020)

    The current telephone numbers for all remote hearings are: 202-860-2110 (local) or 844-992-4726 (toll
    free). After dialing the number, enter the WebEx Meeting ID as shown below for the courtroom. Please click
    a WebEx Direct URL link below to join the hearing online.

           Audio and video recording; taking pictures of remote hearings; and sharing the live or recorded remote
           hearing by rebroadcasting, live-streaming or otherwise are not allowed

Division   Courtroom        Types of Hearings                                Public Access via WebEx
                              Scheduled in
                                                   WebEx Direct URL                                       WebEx
                               Courtroom
                                                                                                          Meeting ID
Auditor    206          Auditor Master             https://dccoufts.webex.eom/megt/ctbaudmastgr           129 648 5606
Master                  Hearings
           100           Civil 2 Scheduling        hUps://dccourts.webex.eom/meet/ctblOO                  129 846 4145
                         Conferences; Status,
                         Motion and Evidentiary
                         Hearings including
Civil                    Bench Trials
           205           Foreclosure Matters       btt^://;iC:coufts.yyebex.co:n/!T}eeE/c:Eti205          129 814 7399

           212          Civil 2 Scheduling         h-tpny/d^cKinvwebex.avn/i^eet/ctbJtJ                   129 440 9070
                        Conferences; Status,
                        Motion and Evidentiary
                        Hearings including
                        Bench Trials
           214          Title 47 Tax Liens; and                                                           129 942 2620
                        Foreclosure Hearings
           219           Civil 2 Scheduling        https://dccourts.webex.com/roeet/etb219                129 315 2924
                         Conferences; Status,
                         Motion and Evidentiary
                         Hearings including
                         Bench Trials
           221           Civil 1 Scheduling                                                               129 493 5162
                         Conferences; Status,
                         Motion and Evidentiary
                         Hearings including
                         Bench Trials
           318           Civil 2 Scheduling                                                               129 801 7169
                         Conferences; Status,
           320           Motion and Evidentiary    https://dccourts.webex.eom/meet/ctb320                 129 226 9879
                         Hearings including
                         Bench Trials




                                                           4                                           CAIO-60
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400      Judge in Chambers                                                              129 339 7379
         Matters including
         Temporary Restraining
         Orders, Preliminary
         Injunctions and Name
         Changes______________
415      Civil 2 Scheduling        i!ttp^77^>Tpuits,.vvebex.coEr|/mefi!t/ctb415         129 314 3475
516      Conferences; Status,                                                           129 776 4396
         Motion and Evidentiary
517                                                                                     129 911 6415
         Hearings including
         Bench Trials
518                                hti:cs://d(:(:oufts.w6bex.conr!/m6et/d:b518          129 685 3445

519                                ■!tt^://;it;coufts.yyebex.co:x;/!T}eeE/c:Eti519      129 705 0412

JM-4                               https://dccourts.webex.com/meet/etbjrr4              129 797 7557



A-47     Housing Conditions                                                             129 906 2065
         Matters
B-52     Debt Collection and       jl^i2s://dca3urts.webex.cornAneet/c1l5bi2            129 793 4102
         Landlord and Tenant
         Trials
B-53     Landlord and Tenant       https://dccourts.webex.co5r;/meet/ctbbS3             129 913 3728
         Matters including Lease
         Violation Hearings and
         Post Judgment Motions
B-109    Landlord and Tenant       h»fis;/Zdccourts:webex,cg.?Vmeet/ctbbl03             129 127 9276
         Matters
B-119    Small Claims Hearings     https://dccoufts.webex.eorrs/meet/ctbbll9            129 230 4882
         and Trials




                                            5                                        CAIO-60
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          EXHIBIT D
                                  Case 1:22-cv-01220-DLF Document 1 Filed 05/02/22 Page 68
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address}
                                                                                            of 73
                                                                                        FOR COt^TySE^WEY
     KIM E. RICHMAN | SBN: 1022978
     RICHMAN LAW & POLICY                                                                                                                            D.C. Superior ^ourt
     1 BRIDGE ST., STE 83 IRVINGTON, NY 10533                                                                                                        04/06/2022 14: 05PM
    TELEPHONE NO.: (718) 705-4579 | FAX NO. j E-MAIL ADDRESS (Optional): krichman@richmanlawpolicy.com                                               Clerk of the C Durt
     ATTORNEY FOR (Name): :



   SUPERIOR COURT OF THE DISCTRICT OF COLUMBIA
          STREET ADDRESS: 500 INDIANA AVENUE, N.W., SUITE 5000
         MAILING ADDRESS:

        CITY AND ZIP CODE: WASHINGTON, DC 20001
                                                                                                                          Hearing Date:                     Room:
             BRANCH NAME:                                                                                                 Hearing Time:                         Dept:
        PLAINTIFF: INTERNATIONAL LABOR RIGHTS FORUM D/B/A GLOBAL LABOR                                                    CASE NUMBER:
                   JUSTICE-INTERNATIONAL LABOR RIGHTS FORUM,
      DEFENDANT: BUMBLE BEE FOODS, LLC                                                                                                    2022 CA 001235 B

                                                                                                                          Ref. No. or File No.:
                                          PROOF OF SERVICE                                                                                        5168892

  AT THE TIME OF SERVICE I WAS AT LEAST 18 YEARS OF AGE AND NOT A PARTY TO THIS ACTION
  I SERVED COPIES OF THE FOLLOWING DOCUMENTS:
   SUMMONS; COMPLAINT
                  PARTY SERVED:                 BUMBLE BEE FOODS, LLC
               PERSON SERVED:                   CT CORPORATION SYSTEM - AGENT FOR SERVICE - JOHN M. - INTAKE CLERK
  DATE & TIME OF DELIVERY:                      4/4/2022
                                                11:47 AM
ADDRESS, CITY, AND STATE:                       330 N Brand Blvd Ste 700
                                                Glendale, CA 91203

    PHYSICAL DESCRIPTION:                       Age: 30                    Weight: 170                        Hair: BLACK
                                                Sex: Male                  Height: 5*11                       Race: HISPANIC

MANNER OF SERVICE:
  Personal Service - By personally delivering copies.




  Fee for Service:                                                                              I declare under penalty of perjury under the laws of the
          County: LOS ANGELES                                                                   The State of California that the foregoing information
          Registration No.: 2012208220                                                          contained in the return of service and statement of
    County: LOS ANGELES                                                                         service fees is true and correct and that this declaration
          VERITEXT                                                                              was executed on April 5, 2022.
          633 EAST COLONIAL DRIVE                                      SWSE&iE
          ORLANDO, FL 32803                                                                '}
          (800) 275-7991                                               V
                                                                                                                .v'""*"

          Ref: 5168892                                                                                                                                  \.w*v

                                                                                                Signature:    >sS
                                                                                                                          ERIC WILKINS
                                                                       EttHb
                                                                    PROOF OF SERVICE
                                                                                                                                                            Order#: 183224/General
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          EXHIBIT E
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                 SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                               CIVIL DIVISION

INTERNATIONAL LABOR RIGHTS FORUM                      :   Case Number: 2022 CA 1235 B
                                                      :
v.                                                    :   Judge: Shana Frost Matini
                                                      :
BUMBLE BEE FOODS, LLC                                 :   Scheduling Conference: June 24, 2022

                                             ORDER

       Upon consideration of the Unopposed Motion to Extend the Time to Respond to

Plaintiff’s Complaint, filed on April 19, 2022, and for good cause shown, it is this 25th day of

April 2022 hereby:

       ORDERED that the Unopposed Motion to Extend the Time to Respond to Plaintiff’s

Complaint is GRANTED; and it is further

       ORDERED that Defendant shall file its response to Plaintiff’s complaint on or before

May 9, 2022.

       SO ORDERED.




                                              Judge Shana Frost Matini
                                              Superior Court of the District of Columbia



Copies served by CaseFileXpress on counsel of record
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          EXHIBIT F
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                 SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                 Civil Division

INTERNATIONAL LABOR RIGHTS FORUM
d/b/a GLOBAL LABOR JUSTICE-
INTERNATIONAL LABOR RIGHTS FORUM,

                          Plaintiff,
                                                             No. 2022 CA 001235 B
               v.                                            Judge Shana Frost Matini

BUMBLE BEE FOODS, LLC,

                          Defendant.


                       NOTICE OF FILING NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that Defendant Bumble Bee Foods, LLC has on this date filed

its Notice of Removal, a copy of which is attached, in the Office of the Clerk of the United States

District Court for the District of Columbia.


DATED: May 2, 2022

                                                     Respectfully submitted,

                                                     By: /s/ Justin Anderson
                                                     Justin Anderson (D.C. Bar No. 1030572)
                                                     Jake E. Struebing (D.C. Bar No. 1673297)
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                                                    Attorneys for Defendant Bumble Bee Foods,
                                                    LLC



                                CERTIFICATE OF SERVICE

        I hereby certify that on May 2, 2022, a true and correct copy of the foregoing was served
by electronic and first class mail on the following counsel of record for Plaintiff:

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       Clark Binkley
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                                                      /s/ Justin Anderson
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